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In Pro Se

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Timothy Lewis Whiting,

Plaintiff`,
vs.

CITY OF CATHEDRAL CITY, California, a
municipality; STANLEY HENRY, former
Chief` of Police, in his individual capacity as a
peace officer with the Cathedral City Police
Department; EARL MOSS, badge# 8908,
administrative lieutenant, in his individual
capacity as peace officer with the Cathedral
City Police Department; CORWIN DEVEAS,
badge# 9703, in his individual capacity as
peace officer with the Cathedral City Police
Department; PAUL HERRERA, badge# 9408,
in his individual capacity as peace officer with )
the Cathedral City Police Department; JAMES)
VAN GORDER, badge# 2510, in his

individual capacity as peace officer with the )
Cathedral City Police Department; and
SANDRA R. HATFIELD, communications
dispatch supervisor, in her individual capacity
as an unsworn employee with the Cathedral
City Police Departrnent; and DOES 1-1()< ,

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Def`endants.

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Case`No. EDCV 13-250-BRO (CW)

PLAINTIFF’S FIRST AMENDED
VERIFIED COMPLAINT FOR
INJUNCTIVE RELIEF AND DAMAGES i
FOR:
l. 42 U.S.C. § 1983 - First Amendment *
Free Speech - Retaliation; Supervisor
Liability; Municipal Liability; Failure to
Train; Negligent Hiring; Due Process
Clause of` the Fourteenth Amendment;

2. Cal. Civil Code §§ 44, 45 - Def`amation
per se (Libel);

3. Abuse of Process;
4. Fraud & Deceit;
5 . Negligence;

6. Intentional Infliction of Emotional
Distress; ,,

UNLIMITED CIVIL CASE

DEMAND FOR JURY TRIAL

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COl\/HES.NOW the Plaintiff, Timothy Lewis Whiting, in this verified complaint, that
relates back to the original complaint, hereby complains and alleges upon personal knowledge

and belief as his own acts and on information and belief as to actions of others, as follows:

I. INTRODUCTION

1. This case should have been settled long ago based on email exchanges between
plaintiff and Cathedral City Attorney Joe McMillin (McMillin) who was initially assigned to
handle this here case. But for unknown reasons the case was stripped away ii‘om the 37-year
veteran attorney who previously had settled with plaintiff on another case. During our email
exchanges, McMillin (speal<ing on behalf of the City of Cathedral City and its employees) stated
“In reading the complaint, it appears that we might be able to satisfy you without further
litigation.” (See Exhibit A, titled “Suit against Cathedral City”)

2. On January 08, 2013, Deputy Public Defender Laura C. Garcia (Miss Garcia) sent
plaintiff an email after locating one of plaintiffs complaints against the Cathedral City Police
Department (CCPD). Miss Garcia was curious because she noticed that plaintiff had filed several
citizen complaints with CCPD in 2008-2009. Miss Garcia was further curious for the reason that
she was handling a client’s case involving CCPD police officers When she contacted CCPD
about whether complaints existed as to certain officers CCPD replied by telling her “no such
complaints existed” but she discovered that one of the officers name had been named in
plaintiffs complaints So, CCPD has a history of not just lying to plaintiff but to deputy public
defenders as well. (See Exhibit B, titled “Cathedral City Citizen Complaints”)

3. The City of Cathedral City Police Department (CCPD) and its employee
defendants_with blatant disregard for the United States and Calif`ornia Constitution and as an
act of retaliation-have now for a second time falsely accused plaintiff of bogus criminal
charges.

4. That being said, the Defendants now attempt to evade responsibility for their
dishonest acts, claiming that the Complaint against them is insufficient to put them on notice of
the retaliatory acts of defamation, fraud and other civil rights violations they have committed
This argument is as disingenuous as it is meritless, as is the defendants’ baseless contention that
their concealed scheme of intentional fraud and deceit has not directly caused plaintiff any harm.

Plaintiff’ s allegations set forth, in great detail, the defendants’ longstanding well-concealed

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fraudulent scheme, for which defendants must now be held accountable

5. The Defendants were involved in the wrongful acts constituting causes of actions,
from personal injuries suffered by plaintiff who inadvertently discovered on July 24, 2012 that
the defendants used fictitious statements by a nonexistent child victim and her mother to
intentionally fabricate and concoct false police reports, antedated on 7/25/2006, and a
supplemental police report, antedated 8/3 0/2006, naming plaintiff as a suspect under California
Penal Code 647.6 (annoying/molesting a minor). None of the Defendants responsible for the
fabricated reports have submitted declarations denying that the reports are false. Plaintiff
adamantly denies all individual statements made in the police reports.

6. The Defendants amongst other reasons purposely fabricated the antedated 2006
false police reports to deter and chill plaintiff s first amendment rights only three days after
plaintiff accused a fellow CCPD police officer (Jose Nunez) of racial profiling on August 07,
2008.

7 . The Defendants specifically used the false reports to curtail plaintiffs first
amendment rights as an act of discouragement in the commencement of and final adjudication of
police misconduct claims by (1) falsely arresting plaintiff on August 10, 2008 (2) illegally
detaining and intimidating plaintiff on November 22, 2008 while going to work (3) intimidating
and harassing plaintiff, on January 26, 2009, during an interview where a CCPD Internal Affairs
Officer (Captain Kevin Connor) who was given the responsibility to investigate plaintiffs claims
of police misconduct but falsely accused plaintiff of climbing through women’s bedroom
windows assaulting them with “sex toys” (4) defaming and totally obliterating plaintiffs fragile
reputation by filing the false police reports which then became a matter of public record
revealing that plaintiff was under investigation for child molestation (5) colluding with other
friendly law enforcement officers who also harassed and intimidated plaintiff resulting in
plaintiffs civil suit being barred due to statute of limitations (6) filing the false police reports
with the objective intent to have the malicious information entered into law enforcement
databases across the country so wherever plaintiff travels law enforcement agencies will be
alerted that plaintiff is under investigation for child molestation and (7) conspiring and retaliating
against plaintiff who reported their misconduct, in 2008-2009, to American Civil Liberties Union
(ACLU), National Association for the Advancement of Colored People ("NAACP"), local media
outlets, and the Civil Rights Division in Washington D.C.

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8. lt is further alleged that these torts and constitutional violations resulted from
established policies, practices and customs of Defendants City of Cathedral City and Stanley
Henry both with a notorious historical adopted pattern of retaliation against citizens who have
spoken out against the Cathedral City Police Department for First Amendment freedom of
Speech violations.

9. Factually, majority of law enforcement officers take great pride in declaring in
their police reports of previous contact with a criminal suspect. However, during plaintiff s false
arrest, on August 10, 2008, Defendant Corwin DeVeas (DeVeas) who arrived on scene, stood
within a few feet of plaintiff, assisted in the pat search of plaintiff, and the booking of plaintiff in
the Cathedral City jail failed to acknowledge that he had prior 2006 contact with plaintiff to his
subordinate arresting CCPD police officer Jeffrey Bird (Bird). Both CCPD police officers
DeVeas and Bird conducted on-the-scene background and warrant checks on plaintiff that
accessed the Cathedral City Police Department computer database which failed to show that
plaintiff had ever been in prior contact with the CCPD for any reason(s) whatsoever nor named
as a suspect as part of a child molestation investigation in 2006.

10. Coincidentally, as this case has progressed and now depicting a guilty conscience,
the Defendants have submitted and entered into court record documents downplaying the
seriousness of such false allegations by pronouncing that the secret investigative police reports
were based on “child annoyance” rather than “child molestation”. However, under California
Penal Code § 64 7. 6, the false police reports could have easily led to plaintiff being wrongfully
convicted of sexual molestation spending years in prison and under Megan ’s Law having to
register as a sex offender for the rest of his/her natural life per California Penal Code section
290. In addition, according to California Penal Code Section 1169, Child abuse investigators
who work for police and sheriffs departments must report to the Department of Justice (DOJ)
all investigated cases of child abuse. Local law enforcement departments and DOJ can maintain
these types of cases in their computer child sex assault databases for an indefinite period even
though unsubstantiated, which translates to plaintiff being referenced as a potential suspect in
nearby communities involving incidents of child rape or molestation

ll. Likewise, the child molestation/ annoyance investigation (even though the
investigation has been closed will remain in local police departments and DOJ computer
databases indefinitely) has fundamentally given the “green ligh ” to Riverside County local city

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police and sheriff departments in Cathedral City, Desert Hot Springs, Rancho Mirage, La Quinta,
Indio, and Palm Springs to surveil and harass plaintiff at anytime they feel necessary which at
times have led to plaintiff being illegally seized and handcuffed Without probable cause.

12. This new modemized 21St century virtual form of police excessive force which
plaintiff also terms as a “Rodney King beating hands off approach” has definitely caused
maximum damage to plaintiffs emotional psyche and livelihood. Plaintiff fears going anywhere
near a public park that may result in his arrest for being in the vicinity of children. Oddly, when
plaintiff visits shopping plazas and local businesses parents receive calls and check their
cellphones then stare at plaintiffs face and immediately ca11 loudly for their children.

13. CCPD’s fabricated and falsified police reports have without question caused
plaintiff irreparable harm and injury because wherever plaintiff decides to live in this great

nation of ours the stigmatized and malicious labels of “child molester” and “pervert” follows.

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II. JURISDICTION AND VENUE

14. This Court has jurisdiction over Plaintiff s claims under 28 U.S.C. § 1331,
because those claims arise under the Constitution of the United States, under 28 U.S.C. § 1343 (a)
because those claims seek to redress deprivations, under color of state authority, of rights,
privileges and immunities secured by the United States Constitution. This case is brought
pursuant to 42, U.S.C. §§ 1983. The court has supplemental jurisdiction over state claims
pursuant to 28 U.S.C. § 1367. Venue is proper in the Central District of California under 28
U.S.C. § 1391(b) because Defendants are located in this District and all of the acts and/or

omissions complained of herein have occurred or will occur in the District.

III. GOVERNMENT CLAIMS ACT COMPLIANCE

Defendant Citv of Cathedral Citv

15. Plaintiff has complied with the California Tort Claims Act by having filed his
timely administrative claim pursuant to Cal. Gov ’t Code §§ 910 and 91 ].2 with the City of
Cathedral City. Plaintiff, on July 24, 2012, discovered the retaliatory fraudulent police report
depicting antedated incident occurred on July 25, 2006. Plaintiff delivered claim for damages to
city clerk on October 30, 2012. The City of Cathedral City on November 01, 2012, pursuant Cal.
Gov’t Code § 913, rejected this claim.

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IV. EOUITABLE TOLLING AND FRAUDULENT CONCEALMENT

16. Even though plaintiff could have known or suspected, that he had a cause of
action involving the 2006 child molestation case based on a January 2009 interview with CCPD
internal affairs officer Captain Kevin Connor (Connor) who made false statements about plaintiff
sexually abusing women by climbing through their bedroom windows assaulting them with sex
toys. Connor never mentioned a single world about a previous investigation involving child
molestation in 2006 during that approximate 2-hour interview. So, plaintiff was still ignorant of
the true facts of that 2006 child molestation case. Defendant Stanley Henry, Connor and other
CCPD high ranking officers were possibly aware and did have knowledge of the falsified and
fabricated police.reports created in 2008 but concealed the allegedly 2006 child molestation

investigation that dissuaded plaintiff from filing a timely lawsuit against the Defendants

V. PARTIES

Plaintiff:

17. Plaintiff Timothy Lewis Whiting is an African-American adult male citizen of the
United States, who is more than 40 years of age, who at all relevant times of this action was a
resident of the Central District of California, in Riverside County. In addition, plaintiff is a
Department of Defense military veteran and former Honeywell Corporation employee who
specialized in Air Traffic Control Electronic Communications. Years after plaintiffs Honorable
military service, he became homeless, June 2007 thru November 2010, and even while homeless
and unemployed, plaintiff took classes and maintained a 3.5 GPA at College of the Desert in
Palm Desert, CA.

Defendants: City of Cathedral City and its Police Department Emplovees

18. Defendant City of Cathedral City [“Cathedral City”] is a Municipal Corporation,
organized under the laws of the State of California, lt is responsible for the policies, procedures,
and practices implemented through its various agencies, agents, departments, and employees,
and injury occasioned thereby. It is also the public employer of the peace officers named as
defendants of the Cathedral City Police Department Defendants Stanley Henry (Henry), Earl
Moss (Moss), Corwin DeVeas (DeVeas), Paul Herrera (Herrera), and James Van Gorder (Van

Gorder). In addition, defendant Sandra R. Hatfield (Hatfield) who is a non-sworn employee.

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Defendants: Does 1 thru 100 v

19. Plaintiff does not know the true names of defendants DOE 1 through DOE 100
inclusive, and therefore sues them by these fictitious names. Plaintiff will amend this complaint
to include their names and capacities once they are none. Plaintiff is informed and believes, and
based on that information and belief alleges, that each of the defendants designated as a DOE is
legally responsible in some manner for the occurrences alleged in this complaint, and unlawfully
caused the injuries and damages to plaintiff as alleged in this complaint,

20. At all times mentioned in this complaint, unless otherwise alleged, each defendant
was the agent, employee, or co-conspirator of every other defendant, and in doing the acts
alleged in this complaint, was acting within the course, scope, and authority of that agency or
employment, and in furtherance of the conspiracy and with the knowledge and consent of each of
the other defendants

IV. FACTUAL ALLEGATIONS COMMON
TO ALL CAUSES OF ACTION

A. MONELL Allegations on Policv and Practice

21. Plaintiff is informed and believes, and on the basis of such information and belief
alleges, that defendant peace officers and their respective departmental employers acted with
gross negligence and reckless disregard for the safety, security, and constitutional and statutory
rights of plaintiff, and all persons similarly situated, maintained, enforced, tolerated, permitted,
acquiesced in, and applied policies, practices, or customs and usages of`, among other things;

a) Selecting, retaining, and assigning peace officers with demonstrable propensities
for acts of retaliation against citizens who express their First Amendment rights of free speech.

b) F ailing to adequately train, supervise, and control peace officers in the arts of law
enforcement including, without limitation, retaliating against law-abiding citizens who file
police misconduct civil rights complaints

c) F ailing to adequately discipline peace officers involved in misconduct; and

d) Condoning and encouraging officers in the belief that they can violate the rights
of persons such as the plaintiff in this action with impunity, and that such conduct will not
adversely affect their opportunities for promotion and other employment benefits.

22. Defendants’ peace officers conduct as alleged herein constitutes a pattern of

constitutional violations based either on a deliberate plan by defendants or on defendants’ gross

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negligence, or reckless disregard to the safety, security, and rights of plaintiff

23. ' Based upon the principles set forth in Monell v. New York City Department of
Social Services, (1978) 436 U.S. 65 8, Defendants City of Cathedral City is liable for all injuries
sustained by plaintiff as set forth herein. The liability arises from the fact that the policies and
customs were a direct legal cause of plaintiff s damages

24. At all times relevant hereto, the defendants’ peace officers acted willfully and
wantonly to the rights and feelings of the Plaintiff. At all times relevant hereto, the defendants’
peace officers acted in accordance with an established adopted policy, practice, custom,
procedure, and/or conspiracy which violated Plaintiff s known constitutional rights

25. The defendants knowingly and willfully violated and attempted to keep remained
hidden in order to cover-up the listed state statutory violations in this complaint and intentional
Constitutional infringements of the Plaintiffs rights guaranteed to him by the Constitution of the
State of Califomia.

26. With an extended arm involving other law enforcement agencies, these
defendants retaliated against Plaintiff to further suppress and neutralize plaintiffs First
Amendment right of free speech for having previously filed civil rights police misconduct
complaints which are matters of public concem, so therefore defendants not protected under
absolute or qualified immunity.

27. Plaintiff also claims defendants do not have absolute nor investigative immunity

for fabricating evidence or making false statements

B. Plaintiff’s Factual Allegations Regarding This Civil Suit

CATHEDRAL CITY POLICE DEPARTMENT (CCPD)
Incident Discoverv Date: Julv 24, 2012

28. Defendants CITY OF CATHEDRAL CITY, STANLEY E. HENRY and other
high ranking CITY OF CATHEDRA CITY officials have long been on actual notice that
members of the CITY OF CATHEDRA CITY Police Department repeatedly violated the
constitutional rights of citizens by subjecting them to searches and arrests without probable
cause, fabricating information in reports, and have otherwise caused numerous citizens to be
subjected to the violation of their Constitutional rights

29. Plaintiff also believes and alleges that said customs, policies, patterns and/or

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practices are the product of a culture of tolerance in the CITY OF CATHEDRAL CITY Police
Department in which the end result, i.e., an arrest and/or prosecution, by any means necessary
(whether lawful or unlawful) became more important than ensuring that the Constitution and
legal processes are followed by members of the Cathedral City Police Department

30. As a result of the pre-existing customs, policies, patterns and/or practices of such
abuses by members of Defendant CITY OF CATHEDRAL CITY’s Police Department, plaintiff
was subjected to the violation of his constitutional rights as alleged herein.

31. Between 2004 thru 2007, plaintiff lived in the City of Cathedral City for three
years and had never been jailed, arrested, or had any contact with the Cathedral City Police
Department (CCPD). (See CCPD Jail History Report as Exhibit C.)

32. On August 07, 2008, plaintiff called the local CCPD to accuse CCPD Officer Jose
Nunez (Nunez) of racial profiling. Because Nunez had acted strangely by not exiting his vehicle
for some 5 minutes with his spotlight pointed in plaintiff s face, plaintiff became fearful and used
his cellphone to ca11 911emergency to send a CCPD supervisor out to the scene. The CCPD
dispatch officer stated she would send a supervisor to the scene. But having questioned Nunez
about the legitimacy of plaintiffs detainment, Nunez permitted plaintiff to neely walk away
prior to his supervisor’s arrival. While speaking with the CCPD female 911dispatch officer,
plaintiff informed her that plaintiff would be filing a police misconduct civil rights complaint
against Nunez for racial profiling. (See Officer Jeffrey Bird’s “Cathedral City Police
Department Report, dated 08/]5/2008, Case# 0808€-2] 60, titled Narrative Report, at page ],
paragraph 3 attached as Exhibit D.)

On or about the dates of August 08, 2008 and August 09, 2008, the Defendants used

fictitious Statements by a nonexistent child victim and her mother to intentionally fabricate and
concoct false police reports, antedated on 7/25/2006, and a supplemental police report, antedated
8/3 0/2006, naming plaintiff as a suspect under California Penal Code 647.6 (annoying/molesting
a minor). (See Defendants’ “CCPD Reports, Case# 0607C-3599, Exhibits E, F, and G.)

33. Not knowing about the fabricated child molestation investigation, plaintiff and
his former girlfriend who had already been dating for approximately three years prior did notice

increased police activity and surveillance surrounding us whenever we would walk out in public

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places after the racial profiling incident

34. Three days after calling 911 on CCPD officer Nunez accusing him of racial
profiling, on August 10, 2008, plaintiff having just left his former girlfriend’s house and now
having walked about two blocks away, up to ten Cathedral City police officers with their vehicle
lights flashing surrounded, stopped, detained and falsely arrested plaintiff on trumped up charges
of suspicion of burglary, being under the influence of an intoxicating substance, and making
annoying 911 calls. Defendant Corwin DeVeas (DeVeas) ordered his subordinate CCPD officer
Jeffrey Bird to arrest plaintiff without probable cause. (See Officer Jeff`rey Bird’s “Cathedral
City Police Department Report, dated 08/]5/2008, Case# 0808C-2] 60, titled Narrative Report,
at page 2, paragraph 3 attached as Exhibit D.)

35. During plaintiffs false arrest, on August 10, 2008, Defendant DeVeas who
arrived on scene, stood within a few feet of plaintiff, assisted in the pat search of plaintiff`, and
the booking of plaintiff in the Cathedral City jail failed to acknowledge that he had prior 2006
contact with plaintiff to his subordinate arresting police officer Jeffrey Bird (Bird). Both CCPD
police officers DeVeas and Bird conducted on-the-scene background and warrant checks on
plaintiff that accessed the Cathedral City Police Department computer database which failed to
show that plaintiff had ever been in prior contact with the CCPD for any reason(s) whatsoever
nor named as a suspect as part of a child molestation investigation in 2006. DeVeas swore under
oath in his police report that he had prior contact with plaintiff in 2006 involving an allegedly
child molestation investigation which is false. (See Defendants’ “Cathedral City Police
Department Reports, Case# 060 7C-3 5 99, titled, Supplemental Report attached as Exhibit E
dated as 08/3 1/2006; Narrative Report attached as Exhibit F dated as 08/01/2006,
Supplemental Report attached as Exhibit G dated as 08/31/2006.)

36. On August 25, 2008, plaintiff received a letter from former CCPD police chief
Defendant Stanley Henry (Henry) advising plaintiff that he received plaintiffs complaint
regarding an incident involving his subordinate CCPD officers, which occurred on December 23,
2008. Henry further stated that plaintiffs complaint was being investigated and when the process
is complete plaintiff will be notified. Plaintiff never received the internal investigation report
concerning this incident, (See Defendant Stanley Henry ’s first Letter as Exhibit H.)

37. On September 03, 2008, plaintiff received a letter from former CCPD police chief
Defendant Stanley Henry (Henry) advising plaintiff that he received plaintiffs complaint _

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regarding an incident involving his subordinate CCPD officers, which occurred on August 07,
2008 and August 10, 2008. Henry further stated that plaintiffs complaint was being investigated
and when the process is complete plaintiff will be notified. Plaintiff never received the internal
investigation report concerning this incident ((See Defendant Stanley Henry ’s second Letter as
Exhibit I.)

38. Months later, plaintiff received a “Detention Certificate” from CCPD Intemal
Affairs Investigator Lieutenant Laura Hanlon (Hanlon) which basically stated no probable cause
existed leading to Defendant DeVeas’s order to have plaintiff detained and arrested on August
10, 2008. (See CCPD Lieutenant Laura Hanlon ’s Detention Certijicate as Exhibit J).

39. On November 22, 2008, a sophisticated home video security system recorded
undeniable proof that the Cathedral City Police Department used home address 31020 San Elj ay
as a ‘stake-out’ with the intent to further harass plaintiff due to plaintiffs still pending August
10, 2008, complaints Defendant Stanley Henry (Henry) refused to conduct an internal
investigation after plaintiff challenged CCPD to subpoena the security video. (See Plaintiff
Request for Formal Investigation dated February 04, 2009 as Exhibit K).

40. On January 26, 2009, at about 9:05am, while awaiting to pick-up copies of
documents in the main lobby area at the CCPD, Captain Kevin Connor (Connor) did approach
and request of plaintiff a brief two minute interview in his office; however, a couple of minutes,
ended-up lasting just over two hours The content of this unannounced interview, in plaintiffs
mind, was to have Connor update plaintiff with information regarding plaintiffs complaint of
racial profiling and three complaints of police harassment against thirteen CCPD officers During
this interview, Connor made specific revelations and admissions but denied any wrong doing by
any of the thirteen officers who took part in plaintiffs illegal stops, detainments, and arrest Yet,
in the same breadth, while slightly covering his mouth with his right-hand, Connor verbally
apologized on behalf of the CCPD by saying, “I am sorry if we...” and further admitted that a
junior officer “. . .did not know what he was doing.” In addition, quite suspiciously and totally
off subj ect, Connor_hypothetically speaking_made reference to a man who goes around the
community climbing through women’s bedroom windows sexually assaulting them with a “sex
toy”. For the reason that my complaints had absolutely nothing to do with sexual assault,
plaintiff failed to understand Connor’s rationale in giving such an example, because plaintiff is
neither a sexual predator nor child molester. (See Plaintiff s Fourth Incident Claim, Dated June

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ll, 2009page 2, paragraph 2 as Exhibit L.)

41. On January 29, 2009, plaintiff received a letter from former CCPD police chief
Defendant Stanley Henry (Henry) advising plaintiff that the November 22, 2008 incident had
been investigated and completed. Henry stated, “I have reviewed the completed internal affairs
investigation regarding (2008-C) resulting from complaint you filed and I did not find any
violation of departmental policv.” Henry ordered the internal investigators not to review the
home security video showing his officers using a home as a stake-out less than a half a block
from plaintiffs former girlfriend’s house to harass and detain plaintiff resulting from plaintiff
accusing his subordinate officers of police misconduct on August 07, 2008 and August 10, 2008.
(See Exhibit M).

42. On February 12, 2009, plaintiff filed a petition with the Cathedral City Police
Department (CCPD) to have the police record, of plaintiffs illegal detention and false arrest,
sealed and destroyed. Former CCPD Communications Police Sergeant Anita Singleterry
accepted the petition and submitted the document to the Department of Justice (DOJ). The DOJ
did seal and destroy this record, Case Record No. 0808C-2160, on May 20, 2009.

43. On May 21 , 2009, plaintiff contacted CCPD Lieutenant Laura Hanlon (Hanlon) to
inform her of plaintiffs recent discovery that CCPD Police Officer Jeffiey Bird (Bird)
committed an act of falsification of a police report dated on August 10, 2008, plaintiff explained
to Hanlon that Bird intentionally lied in his report by stating that plaintiff had given him the alias
(aka) name of “Tim White”. Plaintiff vehemently protested to Hanlon that plaintiff has never
given any law enforcement officer an alias name (aka), because plaintiff does not have an alias
F or reasons unknown at that time, plaintiff Was dumbfounded as to “Why?” CCPD would label
plaintiff with this so called alias (aka) name of “Tim White”. But as plaintiff continued his legal
research via Internet, plaintiff later discovered on the California Attorney General Meagan’s Law
Website which identified a convicted sexual child molester named Timothy Lanorris White (an
African-American male) who uses the alias (aka) name of “Tim White”. Mr. White has the same
first name as plaintiff and has a strikingly resemblance to plaintiff s physical/ bodily
characteristics (age, skin color, weight, height, and facial features). So, plaintiff believes that
CCPD labeled plaintiff with the “AKA” was no mere coincidence but done with malicious
intent. Convicted sexual predator Timothy Lanorris White was already in prison serving time but
the defendants used the similar looking “Tim White” to partially justify the fabricated police

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reports in retaliation for plaintiffs racial profiling police misconduct complaint (See Plaintijj”’s
Fourth Incident Claim, Dated June 11, 2009, page 1, paragraph 2 as Exhibit L.)

44. On February 28, 2012, Riverside County Superior Court Judge Randall White
dismissed plaintiffs civil rights lawsuit against the City of Cathedral City and its employees due
to expiration of the statue of limitations period.

45. On July 12, 2012, plaintiff visited the Desert Hot Springs Police Department
(DHSPD) to inquire about a ”good-guy letter” that verifies that plaintiff has no arrest record in
the City of Desert Hot Springs, California, DHSPD employee, Shirley Roberts (Roberts),
searched its arrest database confirming plaintiff has no arrest record and stated that she would
send the letter to plaintiffs mailing address However, after viewing and searching the DHSPD
criminal arrest database iiirther, plaintiff was informed by Roberts who said, “You might want to
visit the Cathedral City Police Department.” Out of curiosity, plaintiff questioned Roberts about
her concern as to why plaintiff should visit the Cathedral City Police Department, but again,
Roberts only stated that plaintif “should visit the Cathedral City Police Departmen .”

46. On July 24, 2012, as DHSPD employee Shirley Roberts suggested plaintiff did
visit the Cathedral City Police Department (CCPD) to inquire about getting copies of any records
related to any history of police contact in the City of Cathedral City. Having inquired and
received a “Person Details Report” from Cathedral City Police Department, female dispatcher,
Y.C. badge#2103, plaintiff not only discovered that his August 10, 2008 false arrest record was
still active and showing up in law enforcement criminal computer databases but also plaintiff
discovered, for the first time, an unknown new criminal entry now appeared in the Cathedral
City Police Department computer criminal database with a listing that plaintiff is a suspect
involving a child molestation investigation, under California Penal Code 64 7. 6, in Case No.
0607C-3599, that allegedly occurred on July 25, 2006, at 6:00 a.m. at East Palm Canyon Drive
and Monty Hall Drive in the City of Cathedral City, California,

47. l\/loments later, plaintiff first questioned the CCPD female dispatcher, Y.C.
badge#2103, concerning the criminal investigation entry in the CCPD computer database that
shows an active listing of plaintiff having been arrested in August 2008, even though, the
Department of Justice sealed and destroyed the false arrest record on May 20, 2009, Plaintiff
further inquired as to why plaintiff s name was actively showing up as a child molestation
suspect when plaintiff had never been questioned or spoken to by any CCPD officer about being

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under a child molestation investigation back in July of 2006.

48. Y.C. badge#2103 first informed plaintiff that the false arrest incident, Case No.
0808C-2160 would be immediately removed from CCPD’s database showing a history of an
arrest record of plaintiff in the City of Cathedral City. Secondly, Y.C. badge#2103, informed
plaintiff that the child molestation case was closed September 01 , 2006 and she further stated
that the case information record will be sent to the California Department of Justice to have the
record sealed and destroyed in Case No. 060 7C-3599. Without hesitation, plaintiff informed
Y.C. that plaintiff was not involved in the incident. On the following day, plaintiff requested
copies of the police and investigation reports and received such reports on July 25, 2012.
However, as of February 27, 2014, plaintiff has not received any information from the
Department of Justice stating that the child molestation case has been sealed and destroyed

49. After reading the police reports, plaintiff filed this here action against the
individual defendants that arises out of an event that is summarized in the reports and
supplemental reports by CCPD police officers and their supervisors Plaintiff adamantly denies
any involvement whatsoever in the criminal child case. The police reports were intentionally
fabricated and falsified ,

5 0. Defendant Van Gorder (Gorder) contends that plaintiff was involved in a child
annoy/ molestation incident on 7-25-06 at 6:00, Tuesday, at East Palrn Canyon and Monty Hall
in the City of Cathedral City, CA. Plaintiff adamantly denies introducing himself to the victim
about two weeks ago and they talked while riding the bus. Plaintiff denies riding a Sun Bus at
6:00am on Tuesday, on 07-25-06. Plaintiff denies telling the victim that if she did not want the
card, she could throw it away and ‘tear up the evidence and she could keep the money. Plaintiff
denies telling the victim he works at The Lodge at Rancho Mirage. Plaintiff denies he gave
Victim and envelope with her name on it that contained a $20.00 bill and a note writtein on the
inside that stated plaintiff wanted to be her ‘secret friend’ and plaintiff thought she was beautiful
and sexy. Plaintiff denies telling victim that if she did not want the card, she could throw it away
and ‘tear up the evidence.’ Plaintiff denies telling victim that she could keep the money.

51. Defendant Corwin DeVeas (DeVeas) contends that plaintiff was involved in a
child annoy/ molestation incident on 7-25-06 at 6:00, Tuesday, at East Palm Canyon and Monty
Hall in the City of Cathedral City, CA. Plaintiff denies ever speaking with DeVeas on 08/30/06
and verbally identifying himself as “Tim White,” with at date of birth of 090563. Plaintiff denies

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telling DeVeas that he did not do anything wrong. Plaintiff denies telling DeVeas that plaintiff
wanted to know why DeVeas wanted to speak about this situation. Plaintiff denies telling
DeVeas that the victim was actually the person who approached him, and she had some of her
family members call and threaten him.

52. In Case #0607C-3599, on August 31, 2006, at 5:01 p.m., Defendant DeVeas filed
a second supplemental report: Plaintiff denies telling DeVeas in his Supp-l Report, case # of
0607-3599, on 083006, identifying himself as Timothy Whiting (DOB 090563) to Defendant
Sandra R. Hatfield (Hatfield). Plaintiff denies he called wanting to know who was questioning
him regarding this case. Plaintiff denies he attempted to report a subject who was impersonating
a police officer was harassing him. Plaintiff denies confirming his name, and his cellular phone #
to Hatfield. Plaintiff denies verbally identifying himself`.

53. In Defendant DeVeas’S supplemental-2 police report, CCPD employee Defendant
Hatfield lied in the report: Plaintiff denies that he called wanting to know who was questioning
him regarding this case. Plaintiff has never spoken to any CCPD employee about a child

molestation case. Plaintiff adamantly denies ever speaking with Defendant Sandra R. Hatfield.

FIRST CAUSE OF ACTION
(42 U.S.C. § 1983 - FIRST AMENDMENT FREEDOM OF SPEECH - RETALIATION)
(Against ALL Defendants)

54. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 53 above with the same force and effect as if herein set forth.
At all times relevant herein, the conducts of all Defendants were subject to 42 U.S.C. 1983.

55 . Plaintiff vs. Defendants City of Cathedral City, Stanley Henry, Earl Moss, Corwin
DeVeas, Paul Herrera, James Van Gorder, Sandra R. Hatfield, and DOES 1-100.

5 6. All Defendants were acting under color of law or purporting to act in the
performance of his or her official duties

57. The defendants worked a denial of plaintiff s rights, privileges or immunities
secured by the United States Constitution or by Federal law, by intentionally and secretively
fabricating and concocting false police reports, antedated on 7/25/2006, and a supplemental

police report, antedated 8/30/2006, naming plaintiff as a suspect under California Penal Code

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647.6 (annoying/molesting a minor) after plaintiff accused Cathedral City Police Department
(CCPD) Officer lose Nunez of police misconduct for racial profiling on August 07, 2008.

5 8. Plaintiff was engaged in the filing of a police misconduct complaint that is a
matter of public concern and is protected by the First Amendment The Defendants took
retaliatory action in fabrication of the 2006 police reports against plaintiff for previously
accusing a fellow CCPD officer of racial profiling on August 07, 2008 that resulted in plaintiff s
false arrest on bogus charges on August 10, 2008 and later CCPD harassment and intimidation
against plaintiff on November 22, 2008, and January 26, 2009.

59. The Defendants fabricated 2006 police reports created in 2008 as a result of
plaintiff having accused a fellow police of racial profiling, was a substantial factor in causing
plaintiffs pain and suffering, mental and emotional inj uries, humiliation, injury to reputation,
loss of earning capacity, law enforcement apprehension, and loss of enjoyment of life.

60. The Defendants’ action of retaliation would not have occurred but for plaintiff s
protected speech of filing civil rights police misconduct complaints of racial profiling. As a
result of the retaliation by the Defendants for Plaintiff exercising his First Amendment right to
petition, plaintiff has been deprived of his right to free speech, and due course of justice was
impeded, in violation of the First Amendment of the Constitution of the United States and U.S.C.
§ 1983.

WI-IEREFORE, Plaintiff demands judgment for First Amendment retaliation in violation of 42
U.S.C. 1983 against all the defendants for the chilling of his free speech against the Defendants
jointly and severally, for actual, general, special, compensatory damages in the amount of
$500,000.00 and further demands judgment against each of said Defendants jointly and
severally, for punitive darnages, except defendant City of Cathedral City, in the amount of
$100,000.00, plus the costs of this action, including attorney's fees, and such other relief deemed
to be just and equitable

SECOND CAUSE OF ACTION

(42 U.S.C. § 1983 - DUE PROCESS-FOURTEENTH AMENDMENT)

(Against ALL DEFENDANTS)

61. Plaintiff repeats, realleges, and incorporates by reference the allegations in
paragraphs 1 through 60 above with the same force and effect as if herein set forth.

62. Plaintiff vs Defendants City of Cathedral City, Stanley Henry, Earl Moss, Corwin

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DeVeas, Paul Herrera, James Van Gorder, Sandra R. Hatfield, and DOES 1-100.

63. The defendants were acting under color of law or purporting to act in the
performance of his official duties

64. The defendants intentionally and secretiver fabricated and concocted false police
reports, antedated on 7/25/2006, and a supplemental police report, antedated 8/30/2006, naming
plaintiff as a suspect under California Penal Code 647.6 (annoying/molesting a minor) after
plaintiff accused Cathedral City Police Department (CCPD) Officer Jose Nunez of police
misconduct for racial profiling on August 07, 2008.

65. Plaintiff had no knowledge of the existence of this secret child molestation
investigation later used as a means to initiate surveillance and probable cause to falsely arrest
plaintiff on bogus trumped up charges on August 10, 2008 after plaintiff accused another fellow
officer of racial profiling. The Defendants also used the secret investigation as a “liability
preventer” to further harass and intimidate plaintiff on November 22, 2008 and January 26, 2009,

66. The Defendants, unknowingly to plaintiff at the time, continued to use the alleged
covert 2006 fabricated child molestation/annoyance police reports (which were actually created
days after plaintiff accused a fellow police officer of racial profiling on August 07, 2008) against
plaintiff despite the fact that they knew or should have known that the -Defendants fabricated the
reports which would yield false information

67. The Defendants’ actions would not have occurred but for plaintiffs protected
speech of filing civil rights police misconduct complaints As a result the Defendants of Plaintiff
exercising his right to petition, plaintiff has been deprived of his Due Process rights, and due
course of justice was impeded, in violation of the Fourteenth Amendment of the Constitution of

the United States and U.S.C. § 1983.

WHEREFORE, Plaintiff demands judgment for Fourteenth Amendment retaliation in violation
of 42 U.S.C. 1983 against all the defendants for the chilling of his free speech against the
Defendants jointly and severally, for actual, general, special, compensatory damages in the
amount of $500,000.00 and further demands judgment against each of said Defendants jointly
and severally, for punitive damages, except defendant City of Cathedral City, in the amount of
$100,000.00, plus the costs of this action, including attorney's fees, and such other relief deemed

to be just and equitable.

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THIRD CAUSE OF ACTION
(Cal. Civ. Code §§ 44, 45)
(Defamation libel per se _- Private Figure _ Matter of Public Concern)

68. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 67 above with the same force and effect as if herein set forth.

69. Plaintiff vs Defendants Earl Moss, Corwin DeVeas, Paul Herrera, James Van
Gorder, and Sandra R. Hatfield and DOES 1-100.

70. Occurring in August 2008, defendants Earl Moss, Corwin DeVeas, Paul Herrera,
J ames Van Gorder, and Sandra R. Hatfield made statement(s) in a fabricated and falsified written
police report(s), antedated July 25, 2006, of criminal charges of child molestation to known
persons (the public) other than plaintiff (a private figure). The defendants’ police reports are a
matter of public concern accessible to the public.

71. The defendants made these false and malicious statements as a retaliatory gesture
by antedating fictitious police reports of child molestation antedated 2006 after plaintiff accused
another fellow officer of racial profiling. The Defendants also used the secret investigation as a
“liability preventer” to further harass and intimidate plaintiff on November 22, 2008 and January
26, 2009,

72. The Defendants reasonably understood the statement(s) of child molestation were
about Plaintiff Timothy Lewis Whiting and also reasonably understood the statements to mean
that Plaintiff had committed a crime of child molestation pursuant to Cal. Penal Code §647.6(1).
The defendants’ statement(s) as part of an antedated 2006 police report(s) were false and untrue.

73. Defendants Earl Moss, Corwin DeVeas, Paul Herrera, J ames Van Gorder, and
Sandra R. Hatfield made the statements with malicious intent to cause injury or with knowing
and willful disregard for the probable dangerous consequences of their conduct and deliberately
failed to avoid the consequences

74. As a result of the intentional, malicious reckless and willful acts of retaliation by
defendants plaintiff has suffered damage to his fragile reputation, loss of prospective
employment income, emotional distress, mental anguish, humiliation, and pain and suffering

75. Defendants’ wrongful conduct was a substantial factor in causing plaintiffs harm.

As a direct and proximate result of said reputation, shame, mortification, and hurt feelings,

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plaintiff suffered actual damages assumed damages and punitive damages in an amount to be
proven at trial.

WI-IEREFORE, Plaintiff demands judgment for Defamation libel per se in violation of
California Civil Code sections 44, 45 against all the defendants jointly and severally, for actual,
assumed, general, special, compensatory damages in the amount of $500,000.00 and further
demands judgment against each of said Defendants jointly and severally, for punitive damages
plus the costs of this action, including attorney's fees and such other relief deemed to be just and

equitable
FOURTH CAUSE OF ACTION

(Abuse of Process)

76. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 75 above with the same force and effect as if herein set forth.

77-. Plaintiff vs Defendants Earl Moss, Corwin DeVeas Paul Herrera, James Van
Gorder, and Sandra R. Hatfield and DOES 1-100

78. The defendants intentionally and secretively fabricated and concocted false police
reports antedated on 7/25/2006, and a supplemental police report, antedated 8/30/2006, naming
plaintiff as a suspect under California Penal Code 647.6 (annoying/molesting a minor) after
plaintiff accused Cathedral City Police Department (CCPD) Officer Jose Nunez of police
misconduct for racial profiling on August 07, 2008, The Defendants also used the secret
investigation as a “liability preventer” to further harass and intimidate plaintiff on November 22,
2008 and January 26, 2009,

79. That Defendants intentionally created a police report by using false evidence,
such police report was then used to (a) to open up a bogus child molestation criminal
investigation against Plaintiff and (b) presented this child molester police report within nation-
wide law enforcement computer criminal investigative databases which is also available to the
public.

80. Defendants were involved in preparing the fabricated antedated 2006 child
molestation police report and knew the police report was fraudulent and an abuse of process
when they prepared the police report,

81. Defendants used these legal procedures of generating a false document for illegal
and ulterior purposes fraudulently fabricating a police report and using such police report to

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falsely arrest plaintiff on August 10, 2008 three days after plaintiff accused a fellow police
officer of racial profiling on August 07, 2008 and later using that same secretive report as a
“1iability protector” in intimidating and harassing plaintiff on November 22, 2008 and January
26, 2009 as a means of retaliation thereby stigmatized plaintiff as a child molester, use of legal
procedures for which they were not designed to achieve

82. The Defendants intentionally used this legal procedure in creation of the
fabricated police reports as a retaliatory gesture leading to plaintiffs false arrest on August 10,
2008 after plaintiff accused another fellow officer of racial profiling on August 07, 2008. The
Defendants also used the secret alleged 2006 fabricated investigation as a “liability preventer” to
further harass and intimidate plaintiff on November 22, 2008 and January 26, 2009.

83. The Defendants’ conduct was outrageous in fabrication of the false police 2006
reports that basically labeled plaintiff as a child molester which could have and possibly in the
future lead to plaintiff being imprisoned based on law enforcement databases identifying plaintiff
as a potential suspect for child sex assault or molestation.

84. The defendants intended to cause plaintiff emotional distress and acted with
reckless disregard of the probability that plaintiff would suffer emotional distress knowing that
plaintiff was shocked in discovering the defendants fabricated and falsified an antedated 2006
police report depicting plaintiff as a child molester. Plaintiff suffered severe emotional distress
upon discovery of such allegations

85. That Defendants’ conduct was a substantial factor in causing plaintiff s severe
emotional distress As a direct and proximate result of said intentional infliction of emotional

distress plaintiff suffered general and special damages in an amount to be proven at trial.

FIFTH CAUSE OF ACTION
(Fraud & Deceit)
(Under California Government Code section 822.2)

86. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 85 above with the same force and effect as if herein set forth.

87. Plaintiff vs Defendants Earl Moss, Corwin DeVeas, Paul Herrera, J ames Van
Gorder, and Sandra R. Hatfield and DOES 1-100

88. The Defendants established a relationship with plaintiff were in a police officer

and suspect relationship.

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89. Those defendants actively concealed an important fact from plaintiff or prevented
him from discovering that fact. That plaintiff did not know of the concealed fact.

90. That defendants intended to deceive plaintiff by concealing the fact.

91. That plaintiff reasonably relied on defendant’s deception. That plaintiff was

harrned; and defendant’s concealment was a substantial factor in causing plaintiffs harm.

SIXTH CAUSE OF ACTION
(42 U.S.C. § 1983 - SUPERVISOR LIABILITY)
(Against CCPD Former Police Chief Defendant Stanley Henry)
92. Plaintiff repeats realleges and incorporates by reference the allegations in

paragraphs 1 through 91 above with the same force and effect as if herein set forth.

93. Plaintiff vs. Defendant Stanley Henry.
94. The Defendant was acting under color of law or purporting to act in the

performance of his official duties The acts of Defendant Stanley Henry’s subordinate police
officers Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder, Sandra R. Hatfield, and
DOES 1-100, deprived plaintiff of his particular rights under the United States Constitution.

95. Henry did not find any violations of departmental policy involving his
subordinate officers who plaintiff filed police misconduct complaints on four or five different
occasions despite in one incident CCPD internal investigator Laura Hanlon who stated that
plaintiffs false arrest on August 10, 2008 was without probable cause Henry sent letters to
plaintiff on August 25, 2008, September 03, 2008, and January 29, 2009 acknowledging and
denying action of plaintiffs police misconduct complaints

96. Henry was aware of the history of conflict between his subordinate officers and
plaintiff, and yet continued to permit officers Earl Moss, Corwin DeVeas Paul Herrera, J ames
Van Gorder, Sandra R. Hatfield and DOES 1-100 to intimidate and harass plaintiff

97. Henry neglected his supervisorial duties by permitting his subordinate officers
Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder, and Sandra R. Hatfield officer to
intentionally fabricate police reports that was inconsistent with CCPD policy, and that he
encouraged the retaliatory gesture leading to plaintiffs false arrest on August 10, 2008 after
plaintiff accused another fellow officer of racial profiling on August 07, 2008. Henry’s neglect
also resulted in further harassment and intimidation against plaintiff on November 22, 2008 and

January 26, 2009,

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98. Henry should have made a determination whether officers Earl Moss, Corwin
DeVeas Paul Herrera, J ames Van Gorder, and Sandra R. Hatfield personal opinions as to the
fabricating a police report was supported by CCPD policy.

99. Henry also showed tacit support for officers Earl Moss, Corwin DeVeas Paul
Herrera, James Van Gorder, and Sandra R. Hatfield and DOS 1-100 actions by rejecting
plaintiffs police misconduct complaints and failing to discipline the officers Earl Moss, Corwin
DeVeas Paul Herrera, J ames Van Gorder, and Sandra R. Hatfield.

100. Henry, with deliberate indifference to the consequences established and
maintained an intercultural police departmental retaliatory custom that directly caused the
subordinate police officers Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder, and
Sandra R. Hatfield and DOS 1-100 to retaliate by fabricating 2006 child molestation police
reports against plaintiff for previously accusing a fellow CCPD officer of racial profiling on
August 07, 2008 that also resulted in plaintiffs false arrest on bogus charges on August 10, 2008
and later CCPD harassment and intimidation against plaintiff on November 22, 2008, and
January 26, 2009.

101. In fact, this notorious practice of Henry’s policies of first amendment retaliation
against innocent citizens were clearly revealed when, in September 2002, in a case entitled _GL!;
Haas, et al. v. Cathedral Citv, et al.,. the Cathedral City Police Officers Association
(“CCPOA”) filed a complaint against Defendant Stanley Henry (former Chief Henry), and two
other administrators that brought into public light the corrupt practices of Stanley Henry’s
administration including the “cover-up of the ‘Goon Squad’ incident where a Cathedral City
Police Lieutenant gave an illegal order to officers during a briefing to intentionally intimidate a
Me_n.” Once the Haas Complaint was filed, in retaliation, on April 27‘h, 2004, in the United
States District Court, FEDERAL COURT EDCV 02-965, CV 0402931, a complaint for
damages was filed on behalf of 27 Cathedral City Police Officers (27 CCPD officers) charging
defendant former police chief Defendant Stanley Henry and other police administrators in the
department for unlawful retaliation Stanley Henry’s administration acting under the color of law
intimidated, threatened, harassed, and punished the 27 CCPD subordinate police officers as a
result of their roles in the Haas case The 27 CCPD officers claimed Stanley Henry used several
intimidation tactics designed to prevent or dissuade them from testifying freely, honestly and
openly in the Haas case In one implausible malicious tactic, Stanley Henry disclosed to the

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public some of the 27 CCPD police officers’ home addresses and other confidential information
in violation of California law.

102. Again, this practice was clearly revealed when, on January 23, 2008, Sharon
Stephens (Miss Stephens), a 65-year old woman, filed a police misconduct complaint against the
Cathedral City Police Department (CCPD). Defendant Stanley Henry and other administrators
soon began thereafter a “conspiratorial, covert and clandestine investigation” which led to Miss
Stephens’ false arrests To further retaliate and harass Miss Stephens Defendant Stanley Henry
and other CCPD administrators conducted unannounced interviews and slandered (lies upon lies)
Miss Stephens to the point that high-ranking government officials placed her name on the
Department of Homeland Security (DHS) Terrorist Screening Database (TSDB) in Sacramento,
CA.

103. Defendant Stanley Henry set in motion a series of acts by his subordinates that
he knew or reasonably should have known would cause the subordinates to deprive plaintiff of
his rights Defendant Stanley Henry failed to act to prevent his subordinates from engaging in
such conduct The Defendant Stanley Henry and his subordinates conduct was a substantial
factor in causing plaintiffs pain and suffering, mental and emotional injuries humiliation, injury
to reputation, loss of earning capacity, future loss of income, law enforcement apprehension, and
loss of enjoyment of life.

WHEREFORE, Plaintiff demands judgment for First Amendment retaliation in
violation of 42 U.S.C. 1983 against defendant Stanley Henry for the chilling of his free speech
against the Defendant, for actual, general, special, compensatory damages in the amount of
$500,000.00 and further demands judgment against said Defendant, for punitive damages in the
amount of $100,000.00, plus the costs of this action, including attorney's fees and such other

relief deemed to be just and equitable

SEVENTH CAUSE OF ACTION
(42 U.S.C. § 1983 - SUPERVISOR LIABILITY)
(Against Cathedral City Police Sergeant Defendants Earl Moss and Paul Herrera)
104. Plaintiff repeats realleges and incorporates by reference the allegations in
paragraphs 1 through 103 above with the same force and effect as if herein set forth.
105. Plaintiff vs Defendants Earl Moss, Paul Herrera, and DOES 1-100.

PLAINTIFF’S FIRST AMENDED VERlFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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106. ' The Defendants were acting under color of law or purporting to act in the
performance of their official duties

107. The acts of Defendants Earl Moss and Paul Herrera’s subordinate police
officers Corwin DeVeas and J ames Van Gorder, deprived plaintiff of his civil rights under the
United States Constitution.

108. Defendants Earl Moss and Paul Herrera knew, or in the exercise of reasonable
diligence should have known, of subordinates CCPD police officers Corwin DeVeas James Van
Gorder and DOES 1-100, wrongful conduct in the fabrication and falsification of a child
molestation police report antedated July 2006 against plaintiff Defendants Earl Moss and Paul
Herrera’s response was so inadequate that it showed deliberate indifference to, or tacit
authorization of, their subordinates conduct

109. Defendants Earl Moss and Paul Herrera set in motion a series of acts by his
subordinates that they knew or reasonably should have known would cause the subordinates to
deprive plaintiff of his rights Defendants Earl Moss and Paul Herrera knew that the substance of
their subordinate officers’ Corwin DeVeas and James Van Gorder’s police report was fabricated
and falsified but approved of the child molestation antedated crime report anyway.

110. Defendants Earl Moss and Paul Herrera failed to act to prevent their
subordinates from engaging in such conduct Defendants Earl Moss and Paul Herrera and their
subordinates’ conduct was a substantial factor in causing plaintiffs pain and suffering, mental
and emotional injuries humiliation, injury to reputation, loss of earning capacity, future loss of

income, law enforcement apprehension, and loss of enjoyment of life.

WHEREFORE, Plaintiff demands judgment for First Amendment retaliation in
violation of 42 U.S.C. 1983 against the defendants Earl Moss and Paul Herrera for the chilling of
his free speech against the Defendants jointly and severally, for actual, general, special,
compensatory damages in the amount of $150,000.00 and further demands judgment against
each of said Defendants jointly and severally, for punitive damages in the amount of
$100,000.00, plus the costs of this action, including attorney's fees and such other relief deemed

to be just and equitable

PLAINTIFF’S FIRST AMENDED VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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EIGHTH CAUSE OF ACTION
(42 U.S.C. § 1983 ~ MUNICIPAL LIABILITY Act of Final Policy Maker)
(Against Defendant City of Cathedral City)

1 11. Plaintiff repeats realleges, and incorporates by reference the allegations in
paragraphs 1 through 110 above with the same force and effect as if herein set forth.

112. Plaintiff vs Defendant City of Cathedral City.

113. Stanley Henry, former police chief of the City of Cathedral City Police
Department, was acting under color of law or purporting to act in the performance of his official
duties

114. The acts of Stanley Henry, with deliberate indifference, are based on his
unwritten informal policies communicated to his subordinate administrators and police officers
who deprived plaintiff of his First Amendment Rights under the United States Constitution.
Stanley Henry’s informal unwritten communicated policies involve a pattern of constitutional
abuse against any citizen or subordinate police officer who challenged his authority. This

includes the following of a historical pattern against other citizens of retaliatory incidents

 

(1) lntimidation of citizens in September 2002, in a case entitled Glen Haas et al. v.
Cathedral City, et al, the Cathedral City Police Officers Association (“CCPOA”) filed a
complaint against Stanley Henry and two other administrators that brought into public light the
corrupt practices of Stanley Henry’s administration including the “cover-up of the ‘Goon Squad’
incident where a Cathedral City Police Lieutenant gave an illegal order to officers during a

briefing to intentionally intimidate a citizen.”

(2) Falsifying of official government documents in Apri12004, Jeff Miller

(Officer Miller), an ex-Cathedral City Police Officer, took part in the Haas case, a
F ederal lawsuit against Stanley Henry; Officer Miller’s name was placed on Stanley Henry’S
“ arget hit list.” Stanley Henry spent in excess of $50,000 initiating an internal investigation
against Officer Miller. Stanley Henry then with assistance of a friendly Riverside County DA
investigator obtained a search warrant against Officer Miller. After having read the search
warrant personally drafted up by Stanley Henry, former CCPD Officer Miller later stated “. . .L
was filled with so many lies it was pathetic.” The City settled out of court to keep Officer Miller

quiet.

PLAINTIFF’S FIRST AMENDED VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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(3) Falsely arresting citizens who file citizen police misconduct complaints on
January 23, 2008, Sharon Stephens (l\/liss Stephens), a 65-year old woman, filed a police
misconduct complaint against the Cathedral City Police Department (CCPD). Stanley Henry and
other administrators soon began thereafter a “conspiratorial, covert and clandestine
investigation” which led to Miss Stephens’ false arrests

(4) Retaliating against witnesses who speak out publicly about mismanagement and
corrupt business practices of the Cathedral City Police Department, on Apr1127th, 2004, in the
United States District Court, FEDERAL COURT EDCV 02-965, CV 0402931, a complaint for
damages was filed on behalf of 27 witnesses who charged Stanley Henry and other police
administrators in the department for unlawful retaliation to prevent or dissuade them from
testifying freely, honestly and openly in a civil rights case against the City of Cathedral City.

(5) Providing the names of citizens who file legitimate citizen police misconduct
complaints to the Department of Homeland Security that mistakenly labels the citizen as a
“domestic terrorist”, on January 23, 2008, Sharon Stephens (Miss Stephens), a 65-year old
woman, after filing a police misconduct complaint against the Cathedral City Police Department
(CCPD). Miss Stephens’ stated that Stanley Henry’s administration told lies to high-ranking
government officials who then placed Miss Stephens name on the Terrorist Screening Database
(TSDB) in Sacramento, CA.

115. Stanley Henry had final policymaking authority from Defendant City of
Cathedral City concerning these acts which led Stanley Henry’s subordinate police officers to
retaliate against plaintiff by fabricating and falsifying a CCPD police incident report antedated
7/25/06, Case No. 0607C-3599, for child molestation. When Stanley Henry engaged in these
acts he was acting as a final policymaker for Defendant City of Cathedral City. Stanley Henry’s
unwritten policies was a substantial factor in causing plaintiff s pain and suffering, mental and
emotional injuries humiliation, injury to reputation, loss of earning capacity, future loss of

income, law enforcement apprehension, and loss of enjoyment of life

WHEREFORE, Plaintiff demands judgment for First Amendment retaliation in

violation of 42
U.S.C. 1983 against Defendant City of Cathedral City for the chilling of his free speech

against, for actual, general, special, compensatory damages in the amount of $500,000.00, plus t

PLAINTIFF’S FIRST AMENDED VERlFlED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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he costs of this action, including attorney's fees and such other relief deemed just and equitable

NINTH CAUSE OF ACTION
(42 U.S.C. § 1983 - MUNICIPAL LIABILITY based on Adopted Custom)
(Against Defendant City of Cathedral City)

116. Plaintiff repeats realleges and incorporates by reference the allegations in
paragraphs 1 through 115 above with the same force and effect as if herein set forth.

117. Plaintiff vs Defendant City of Cathedral City.

118. Stanley Henry, the former Cathedral City police chief, was acting under color
of law or purporting to act in the performance of his official duties

119. The acts of Stanley Henry, with deliberate indifference, are based on Stanley
Henry’s unwritten custom and practice communicated to his subordinate administrators and
police officers who deprived plaintiff of his civil rights under the United States Constitution.

120. Stanley Henry’s informal unwritten custom and practice demonstrate a pattern of
constitutional abuses against citizens and subordinate officers who challenged his authority.
Plaintiff having put on notice the City of Cathedral City by filing four previous police
misconduct complaints against Stanley Henry and his subordinate officers clearly demonstrate a
wide-spread custom of retaliation against citizens who file civil rights police misconduct
complaints Stanley Henry acted pursuant to an expressly adopted longstanding custom and
practice of Defendant City of Cathedral City who failed to take action against its employees who
commit constitutional abuses against citizens who file police misconduct complaints

121. Defendant City of Cathedral City adopted Stanley Henry’s informal custom
and practices concerning these acts that led Stanley Henry’s subordinate police officers to
retaliate against plaintiff by fabricating and falsifying antedated police reports of child
molestation.

122. When Stanley Henry engaged in these acts he was acting as a final
policymaker for Defendant City of Cathedral City. Stanley Henry’s informal unwritten policies
was a substantial factor in causing plaintiffs pain and suffering, mental and emotional injuries
humiliation, injury to reputation, loss of earning capacity, future loss of income, law enforcement

apprehension, and loss of enjoyment of life.
WHEREFORE, Plaintiff demands judgment for First Amendment retaliation in violation of 42

PLAINTIFF’S FIRST AMENDED VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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U.S.C. 1983 against Defendant City of Cathedral City for the chilling of his free speech against,
for actual, general, special, compensatory damages in the amount of $500,000.00, plus the costs
of this action, including attorney's fees and such other relief deemed just and equitable
TENTH CAUSE OF ACTION
(42 U.S.C. § 1983 - MUNICIPAL LIABILITY based on Failure to Train)
(Against Defendant City of Cathedral City)

123. Plaintiff repeats realleges and incorporates by reference the allegations in
paragraphs 1 through 122 above with the same force and effect as if herein set forth.

124. Plaintiff vs Defendant City of Cathedral City.

125. The acts of Defendant City of Cathedral City’s failure to train its employee
police officers Stanley Henry, Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder,
Sandra R. Hatfield, and DOES 1-100, deprived plaintiff of his civil rights under the United States
Constitution.

126. Defendant City of Cathedral City’s police officer employees Stanley Henry,
Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder, Sandra R. Hatfield, and DOES l-
100, were acting under color of law or purporting to act in the performance of his or her official
duties Defendant City of Cathedral City had knowledge of or should have known of its police
officer training deficiencies that were publicly manifested

127. The training policies of the Defendant City of Cathedral City were not
adequate to train its police officers to handle the usual recurring situations with which they must
deal. The Defendant City of Cathedral City was deliberately indifferent to the obvious
consequences of its failure to train its police officers adequately.

128. Defendant City of Cathedral City knew its failure to train its employees would
result in constitutional violations which led police officers to fabricate and falsify antedated
police reports of child molestation against plaintiff The failure of the Defendant City of
Cathedral City to provide adequate training caused the deprivation of plaintiffs rights as to be
the moving force that caused police officers to fabricate and falsify antedated police reports of
child molestation against plaintiff Defendant City of Cathedral City’s failure to train its
employees was a substantial factor in causing plaintiffs pain and suffering, mental and
emotional injuries humiliation, injury to reputation, loss of earning capacity, future loss of
income, law enforcement apprehension, and loss of enjoyment of life

PLAINTIFF’S FIRST AMENDED VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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WHEREFORE, Plaintiff demands judgment for First Amendment retaliation in violation of 42
U.S.C. 1983 against Defendant City of Cathedral City for the chilling of his free speech against,
for actual, general, special, compensatory damages in the amount of $500,000.00, plus the costs

of this action, including attorney's fees and such other relief deemed just and equitable

ELEVENTH CAUSE OF ACTION
(42 U.S.C. § 1983 - MUNICIPAL LIABILITY based on Negligent Hiring)
(Against Defendant City of Cathedral City)

129. Plaintiff repeats realleges and incorporates by reference the allegations in
paragraphs l through 128 above with the same force and effect as if herein set forth.

130. Plaintiff vs Defendant City of Cathedral City.

131. The acts of Defendant City of Cathedral City’s adopted policy of negligent
hiring of its employee police officers Stanley Henry, Earl Moss Corwin DeVeas Paul Herrera,
J ames Van Gorder, Sandra R. Hatfield, and DOES 1-100, deprived plaintiff of his civil rights
under the United States Constitution.

132. Defendant City of Cathedral City’s employee police officers Stanley Henry,
Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder, Sandra R. Hatfield, and DOES l-
100 were acting under color of law or purporting to act in the performance of his or her official
duties

133. Defendant City of Cathedral City failed to check adequately employee police
officers Stanley Henry, Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder, Sandra R.
Hatfield, and DOES 1-100 background when hiring him or her. Defendant City of Cathedral
City’s failure to check adequately employee police officers Stanley Henry, Earl Moss Corwin
DeVeas Paul Herrera, James Van Gorder, Sandra R. Hatfield, and DOES 1-100 background
amounted to deliberate indifference to the risk that a violation of plaintiffs civil rights would
follow the hiring decision.

134. The Defendant City of Cathedral City’s failure to check adequately employee
police officers Stanley Henry, Earl Moss, Corwin DeVeas Paul Herrera, James Van Gorder,
Sandra R. Hatfield, and DOES 1-100 background proximately caused the violation of plaintiffs
civil rights The failure of the Defendant City of Cathedral City to adequately check the

backgrounds of its employee police officers caused the deprivation of plaintiffs rights as to be

PLAINTlFF’S FIRST AMENDED VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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the moving force that caused police officers to fabricate and falsify antedated police reports of
child molestation against plaintiff

135. Defendant City of Cathedral City’s failure to check adequately employee police
officers Stanley Henry, Earl Moss, Corwin DeVeas Paul Herrera, J ames Van Gorder, Sandra R.
Hatfield, and DOES 1-100 backgrounds was a substantial factor in causing plaintiffs pain and
suffering, mental and emotional injuries humiliation, injury to reputation, loss of earning

capacity, future loss of income, law enforcement apprehension, and loss of enjoyment of life

WHEREFORE, Plaintiff demands judgment for First Amendment retaliation in violation of 42
U.S.C. 1983 against Defendant City of Cathedral City for the chilling of his fee speech against,
for actual, general, special, compensatory damages in the amount of $500,000.00, plus the costs

of this action, including attorney's fees and such other relief deemed just and equitable

TWELVTH CAUSE OF ACTION
(42 U.S.C. § 1983 - MUNICIPAL LIABILITY based on Ratification)
(Against Defendant City of Cathedral City)

136. Plaintiff repeats realleges and incorporates by reference the allegations in
paragraphs 1 through 135above with the same force and effect as if herein set forth.

137. Plaintiff vs Defendant City of Cathedral City.

138. Stanley Henry, the former Cathedral City police chief`, was acting under color of
law or purporting to act in the performance of his official duties

139. The acts of Stanley Henry, with deliberate indifference, are based on his unwritten
informal policies communicated to his subordinate administrators and police officers who
deprived plaintiff of his First Amendment Rights under the United States Constitution.

140. Stanley Henry’s informal unwritten communicated policies involve a pattern of
constitutional abuse against any citizen or subordinate officer who challenged his authority.

141. On November 01, 2012, plaintiff received letter of “Rejection of Claim” from
Defendant City of Cathedral City pertaining to plaintiffs claim for damages which is understood
by plaintiff that Defendant City of Cathedral City approved of and cleared all subordinate police
officers of any unconstitutional retaliatory conduct in the fabrication and falsification of a child

molestation antedated police report against plaintiff

PLAINTIFF’S FIRST AMENDED VERlFlED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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142. Stanley Henry acted pursuant to an expressly adopted longstanding unwritten
widespread custom and practice of defendant City of Cathedral City having denied plaintiffs
claim for damages all but approve and accept as constitutional that police officers can fabricate
and falsify antedated police reports as a lifetime means of retaliation against citizens who have
previously filed police officer misconduct complaints

143. Stanley Henry had final policymaking authority from Defendant City of Cathedral
City concerning the acts of Stanley Henry’s subordinate police officers Earl Moss, Corwin
DeVeas Paul Herrera, .1 ames Van Gorder, Sandra R. Hatfield, and DOES 1-100 who fabricated
and falsified child molestation antedated police reports against plaintiff

144. Stanley Henry ratified his subordinate police officers Earl Moss, Corwin DeVeas
Paul Herrera, J ames Van Gorder, Sandra R. Hatfield, and DOES 1-100, acts and the basis for it,
that is Stanley Henry knew of and specifically approved of the employees’ acts

145. Stanley Henry’s unwritten policies was a substantial factor in causing plaintiff s
pain and suffering, mental and emotional injuries humiliation, injury to reputation, loss of
earning capacity, future loss of income, law enforcement apprehension, and loss of enjoyment of
life

WHEREFORE, Plaintiff demands judgment for First Amendment retaliation in
violation of 42 U.S.C. 1983 against Defendant City of Cathedral City for the chilling of his free
speech against, for actual, general, special, compensatory damages in the amount of
$500,000.00, plus the costs of this action, including attorney's fees and such other relief deemed
just and equitable

THIRTEENTH CAUSE OF ACTION
(Intentional Infliction of Emotional Distress)
146. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs l through 145 above with the same force and effect as if herein set forth.
147. Plaintiff vs ALL Defendants
148. The Defendants’ conduct was outrageous The defendants intended to cause
plaintiff emotional distress and acted with reckless disregard of the probability that plaintiff

would suffer emotional distress knowing that plaintiff was shocked in discovering the

PLAINTIFF’S FIRST AMENDED VERlFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
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defendants fabricated and falsified an antedated 2006 police report depicting plaintiff as a child
molester. Plaintiff suffered severe emotional distress upon discovery of such allegations

149. That Defendants’ conduct was a substantial factor in causing plaintiffs severe
emotional distress As a direct and proximate result of said intentional infliction of emotional

distress plaintiff suffered general and special damages in an amount to be proven at trial.

FOURTEENTH CAUSE OF ACTI()N

(Negligence)
150. Plaintiff repeats and realleges and incorporates by reference the allegations in

paragraphs 1 through 149 above with the same force and effect as if herein set forth.

151. Plaintiff vs. ALL Defendants The defendants were negligent in the fabrication
and falsification of antedated 2006 police reports for child molestation against plaintiff Plaintiff
suffered serious emotional distress upon discovery on July 24, 2012.

152. That Defendants’ negligence was a substantial factor in causing plaintiffs severe
emotional distress As a direct and proximate result of said negligent infliction of emotional

distress plaintiff suffered general and special damages in an amount to be proven at trial.

JURY TRIAL DEMAND
Plaintiff hereby demands a jury trial.

PRAYER F()R RELIEF

WHEREFORE, the Plaintiff requests that this Court:

1. Declare that the Defendants’ actions violated the First and Fourteenth Amendments to the
United States Constitution;

2. Permanently enjoin the Defendants from any further retaliatory action against the Plaintiff
for the exercise of rights under the United States and California Constitutions;

3. Plaintiff demands judgment for First Amendment retaliation in violation of 42 U.S.C. 1983
against all the defendants for the chilling of his free speech against the Defendants jointly and
severally, for actual, general, special, compensatory damages in the amount of $500,000.00 and
further demands judgment against each of said Defendants jointly and severally, for punitive
damages except defendant City of Cathedral City, in the amount of $100,000.00, plus the costs

of this action, including attorney's fees and such other relief deemed to be just and equitable

PLAlN'I`IFF’S FIRST AMENDED VERIFIED COMPLAINT FOR INIUNCTIVE RELlEF AND DAMAGES
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1 PLAINTIFF’S VERIFICATION

2 I, TIMOTHY LEWIS WHITING, declare under the penalty of perjury under the laws of the

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State of California that the foregoing is true and correct to the best of my knowledge

Dated this 28th day of February 2014.

 

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Exhibit A

 

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Suit against Cathedral City

l-`rom: jmcmilli@;ol.ebm w
: Sent.' Tue 1/29/13 9:45 AM
t TO; tw92240@hotman.com

Good morning Mr. Whiting:

; l have been assigned the new case that you filed against Cathedral City. l am sending you this email
since you have no current phone listed by the court ln reading the complaint, it appears that we might

j be able to satisfy you without further litigation However, l may be wrong. Since our previous
conversations have always been very cordial, it won't hurt for us to at least talk about it. Please give me

_ a call at 760-413-6913

\ https://blul70.mail.live.com/mail/Printl\/Iessages.aspx?cpids=9f4de2b2-6a30-11e2-a7cf-00... 1/30/2013

 

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Exhibit B

 

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I“'°°x (22) Cathedra| City Citizen Bacl< to messages l
powers Complaints
Junk (448) .
Garcla, Laura Add 16 contacts 1/08/13
Drafts (17) 16 'iw92240@h61mail.com' seay/§ng
Sent
Deleted . .
_ Hello Mr. Whiting,
24HrF\tness . . . . .
l 1 came across your information through a civil complaint
Car . . .
you recently filed against the Cathedral City Police
COD . .
Department 1 was curious to see that you stated in your
Edison . . . . .
complaint you had filed several citizen complaints with
FAFSA CCPD in 2008 and 2009, This is curious to me because in a
lnsurance ._ recent case l was handling, 1 was told by the agency that no
IRS such complaints existed as to certain officers one you have
J°b Search listed in your complaint
Lotto
Sprl“t 1 was wondering if you wouldn’t mind sharing with me
TlmeWamer what complaints you filed, when and against which officers
VA If you have copies of such complaints I would definitely
N@W folder love to see them. 111 particular, 1 am interested in any
_ ‘ complaints you made about false reports and allegations
Quicl< views
D t . .
Ocumen 5 Thank you and l appreciate your time
Flagged
Ph°tos Laura C. Garcia
Shlpping Update$ ` Deputy Public l)efen,der
New category flaw Offices of the Public l)efen.der ~ 'lndio
Ofci (76`()) 863'7559
Messenger Fax: (76'0) 363-3908
You're signed in to
Messenger. To change
your status, click your ~
name in the upper right This email message, including any attachments is intended for the sole viewing and
comer' use of the individual or entity to which it is addressed. and may contain confidential and
Keep me signed in l Sign _ , . . . . . . . . .
Out Of Messenger privileged mformat¢on, which is prohibited from disclosure Any unauthorized review,
use, disclosure, distribution, or the taking of any action in reliance on the information
[“§;a:&m§£;"~ M:] contained in this emai|, including attachments is prohibited lf you are notthe intended
"'“WWW W recipient, you are hereby notified that any dissemination or copy of this message, or
No friends are online. . . . . . , . .
any attachment, is strictly prohibited |f you have received a copy of this email in error,
Slgn Out Of Me$$enger ' please notify the sender by reply email immediate|y, and remove all copies of the

 

 

   

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Exhibit C

 

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PRlSONER JAlL HlSTORY

DATE l T|ME AR_R|_EST l CASE #

Whiting, Lewis Whiting 08-10-08 11100'.00 , 08080-2'160
RECORD OF TELEPHONE CALLS AND VlSlTS
DATE 'Tll\/lE _ NAME OF-PERSON` ' TELEPHONE NUMB'ER OR ADDRESS CALL/VlS|T OFF|CER SlG.

 

 

 

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PRlSONERS AUTHOR|ZAT|ON FOR RELEASE OF PROPERTY

 

 

 

RELEASE To: THE FoLLov\/lue oescR1350 PRoPeRTY
CA$HlCOlN b CLOTH|NG WORN .
/;/3'5' gray shirt, gray pantsl black shoes

 

 

OTHER PROPERTV .- .
wallet, cell phone, black wallet, l<eys, black watchl black plyers, blue hat, misc papers": blue gloves
brown back packl gray zip up bag, personal care products '

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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081‘10.2008 06133

 

 

Case 5:13-0v-00250-BRO-CVO Document 33 Filed 03/03/14 Paige 41 of 70 Page |D #:297

Exhibit D

 

 

 

 

 

 

 

".‘ '»` ` CATH'"DRAL CITYPOL DEP/ l?TMENT CASE#
’ A"€Sase 5:§- \/- -0-0250 BRO- CWg-;@qgggr@lrgn?é?io §A|Lg 0€3 3}¢1(4A Pa@ 42 of 70 Page lDGB*160
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Narrative Report age 0
pFFENsE(s) oFFENsE(s)conl'd.
r_ 653 M(B) PC; Annoying Phone Cal|:Repeated Calls; Misd.
DATE. T|ME AND DAY OF OCCURENCE DATE AND T|ME REPORTED
08I10I08 05:18 Sunday ' 08/10/08 05:18
LOCAT|ON OF OCCURENCE LOCAT|ON NAME TYPE OF LOCAT|ON EEAT SECTOR

Date Palm Dr SOF McCa||um Wy Parklng l.ot

 

NARRAT|VE

ASS|GN|V|ENT:

On Suhday, 08/10/08, Reserve Officer Lemus and l were assigned to stake out the area of

‘ Date Palm Dr. and Ramon Rd. in hopes of finding a suspect burglarizing numerous
businesses the area in the early morning hours These burglaries occurred between the
hours 0400 hours and 0530 hours who was wearing dark colored clothing. l was driving an
unmarked Cathedral City Police vehicle Thls vehicle is equipped with fon/vard facing red and
blue emergence lights and a siren. l was wearing a white T-shirt, black pants my gun and
Cathedral City Police badge on my right hip. Reserve Officer Lemus wore a Cathedral City
Police class "D" uniform.

l was traveling northbound on Date Palm Dr. north of Baristo Rd. When l saw a person, later
identified as: Timothy Whiting (lD# D2839035), wearing all dark clothing walking at a fast
pace, south on Date Palm Dr. on the west side of the street l continued driving north on
Date Palm Dr. | turned left (west) onto McCa||um Way. l entered the 99 "Cent" store parking
lot, 31033 Date Palm Dr. l drove south through the parking lot to position my vehicle' in a
driveway, to the west of Date Palm Dr., in front of Whiting Reserve Officer Lemus and l
exited the vehicle to speak to Whiting.

l walked up to Whiting and asked him how he was dolng. He immediately became very
defensive and asked me if he was under arrest while reaching into his back pack. Fearlng he
may have a weapon, l asked to see his hands and he complied l explained to Whiting why l
wanted to speak to him l told him l was looking for a burglary suspect that may be in the area.
He again asked me if he was under arrest and l told him "No," but l was detaining him for
investigation, believing he may possibly be involved in the recent burglaries in the area.
Whiting told me he believed he was being harassed because was stopped yesterday
(08/09/08) by another officer. l asked Whiting if l could pat him down for weapons which he
agreed to let me do. During the course of the pat down l fe|t, what l believed through your
training and experience to be a cell phone in his front right pocket He reached into his right
pocket, retrieved his cell phone and called 9-1-1. He told the 9-1-1 dispatcher he was out
With the Cathedral City Police and wanted a witness because he was being harassed He
requested a CHP (Californla Highway Patrol) unit to witness the contact Whiting'then made
the comment, "| can't believe 9-1-1 would hang up on you." He again called 9-1-1 two more

 

 

 

 

\PFlCER DATE/T|ME APPROVED BY DATE APPROVED
"\'d 2702 08I15l2008 18:35 Corwin DeVeas 9703 _ 08I15l08
`\\ l UNlT/SHlFT ASSIGNED TO CASE STATUS
\\ Closed

 

 

 

 

 

 

 

7`\ .d/2702 Entered by: Jeff`rey Bird Page 1 of 4 APDC (Rev. 11/14/07) Print Date: 09/17/2008

 

'A ,; ' CAT THFDRAL CITY PoLICE DEPA RTMENT CASE#
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C"me cA0332500 .
Non-Crlminal ij Page 2 of4
Narrative Report
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v '653 M(B) PC; Annoying Phone Cal|:Repeated Calls; Mlsd.
DATEl T|ME AND DAV OF OCCURENCE DATE AND T|ME REPORTED
08/10/08 05:18 Sunday s 08/10/08 05:18

 

  
  

 

TVPE OF LOCAT|ON

Parkmg Lot

 
 
 

LOCATlON NAME

 

LOCAT|ON OF OCCURENCE

Date Palm Dr, SOF McCallum Wy

  

NARRAT|VE

times

CHP dispatch patched the 9-1-1 call CCPD dispatchers CCPD Dispatch verified l was
speaking to Whiting. l then told Whiting to hang up the phone Which he did While speaking
to Whiting he appeared very agitated he Was argumentative and continued making the
comment that l was harassing him. l asked Whiting where he was coming from, he replied
that he was corning from his girlfriend’s house He refused to tell me where his girlfriend lived
and her name He told me it was "None of my business," When l asked l asked him where
he was golng; he told me he was on his way to work. Whiting refused to tell me where he
worked

While speaking to Whiting l noticed his speech was fast He appeared very paranoid
Whiting was making fast jerky movements wide eyed, and appeared skittish. l asked Whiting
" if he used any kind of drugs He told me he has never used any drugs l asked Whiting to
"stick his tongue out. l noticed a white cakey film on his tongue l recognized through my
training and experience is was consistent that a person who smokes l\/lethamphetamlnes Wil|
form a white cakey substance on his tongue

l requested Sgt. Deveas respond to my location. When he arrived l explained to him what the
situation was. After speaking to Sgt. Deveas | formed the opinion l had probable cause to
arrest Whiting for 653(x) (a) PC-Telephone calls to 9-1-1; intent to annoy or harass;
emergency response cost. l also wanted to evaluate Whiting further in a controlled
environment

RHO|V|BERG TEST:

l instructed Whiting tilt his head back, and eyes closed l told him to estimate 30 seconds and
open his eyes and tell me once he counted to 30 seconds Whiting estimated 30 seconds as
being 17 seconds The fact Whiting estimated 30 seconds as 17 seconds indicated an
increased internal body clock which is consistent with being under the influence of a
controlled substance While Whiting had his eyes closed l noticed his eyes !ids fluttered

rapidly.

 

 

 

 

 

\\`l Y OFF|CER DATE/T|ME APPROVED BV DATE APPROVED
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\ ltd/2702 Entered by: Jeffrey Bird _ Page 2 of 4 APDC (Rev. 11/14/07) Print Date: 09/17/2008

 

 

 

 

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Narratlve Report
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DATE, T|ME AND DAV OF OCCURENCE DATE AND T|ME REPORTED
08/10108 05:18 sunday 08/10/08 05:18

 

   

 

     
   
 
 

TYPE OF LOCATION

   

LOCATlON OF OCCURENCE
lum Wy

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PUP|LARY COMPAR|SON:

l told Whiting to close his eyes After approximately one minute, l had Whiting open his eyes
as l noted the following: Whiting's pupils were dilated with very little rebound. This occurs
when a person has recently ingested a controlled substance. l checked Whiting's pupils
using a pupilometer comparison. l noticed his pupils were slow pulsating (hippus). Whiting's
pupils were pulsating between 3.5 mm and 2 mm.

PULSE:
At about 0525 hours, l estimated Whiting's radial pulse at 124 BPl\/l.

Officer Carbajal transported Whiting to CCPD for booking. During the booking process he
told us he does not have a job. While at CCPD jail | reevaluated Whiting for being under the

”WnHuence.
Rl-loiviBERo TEsT:

l instructed Whiting tilt his head back, and eyes closed l told him to estimate 30 seconds and
open his eyes and tell me once he counted to 30 seconds Whiting estimated 30 seconds as
being 22 seconds The fact Whiting estimated 30 seconds as 22 seconds indicated an
increased internal body clock, which is consistent with being under the influence of a
controlled substance. While Whiting had his eyes closed l noticed his eyes lids fluttered

rapidly.
PUPlLARY CO|V|PAR|SON:

l told Whiting to close his eyes After approximately one minute, l had Whiting open his eyes
as l noted the following: Whiting's pupils were dilated with very little rebound. This occurs
when a person has recently ingested a controlled substance. l checked Whiting's pupils
using a pupilometer comparison. l noticed his pupils were reacting normal. Whiting's pupils
were 4 mm with indirect light and approximately 3.5 using direct light from a pocket pen light.

 

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_ J. Bird 2702 08/15/2008 18:35 Corwin DeVeas 9703 08I15I08
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Closed

 

 

 

 

 

 

 

 

 

CR-l Bird/2702 Entered by: Jeffrey Bird Page 3 of 4 APDC (Rev. 11/14/07) Print Date: 09/17/2008

 

 

 

 

 

 

 

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nme CA0332500
Non-Crimina| [:| . Page 4 of 4
7 Narratlve Report
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7 653 M(B) PC; Annoying Phone Cal|:Repeated Ca||s; Misd.

 

 

        
   
   

 

      

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08/10/08 05:18 Sunday 03/10/08 05:18
LocATloN oF occuRENcE LocATloN NAME TYPE 01= LocATioN sEcToR

    

Date Palm Dr SOF McCa||um Wy

NS\\$¢\M

Parking Lot

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swiss
NARRAT|VE

PULSE:

At about 0604 hours l estimated Whiting's radial pulse at 88 BPl\/l.

l formed the opinion Whiting was not under the influence of a controlled substance.

While at CCPD l read Whiting his l\/liranda Rights. He refused to speak to us and requested
to speak to a lawyer. `

Whiting was later released per 849(b) PC.

_ CASE STATUS:

Due to the interest of justice this case will be closed no charges

  
          

E/T|ME A ROVED D EAPPROVED

 

J. Bird 2702 08/15/2008 18:35 Corwin DeVeas 9703 08I15l08
OFF|CER - UNlT/SH|FT ASS|GNED TO CASE STATUS
Closed

 

 

 

 

 

 

 

 

 

CR-l Bird/2702 Entered by: Jeff`rey Bird ' Page 4 of 4 APDC (Rev. 11/14/07) Print Date: 09/17/2008

 

Case 5:13-cv-00250-BRO-év\p Document 33 Filed 03/03/14 Page 46 of 70 Page lD #:302

Exhibit E

 

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647.6 PC; AnnoylMolest Children; Misd.

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` Arrest‘ g CA THEI)RAL CITY POLICE DEPAK MENT
Crime E 68700 Lalo Guerrero, cathedral City, cA 92234 0607€'3599
Non-Crimina| |: CAO332500 PAGE
Supplementa'l Report 1 °F 2
OFFENSE(S) OFFENSE(S) cont'd.

 

DATE, T|ME AND DAY OF OCCURENCE
07l25/06 06:00 Tuesday

DATE AND T|ME REPORTED
07l25l06 17:40

 

 

LocATioN oF occuRENcE LocATioN NAME
East Palm Canyon Dr, Monty Ha|l Dr

 

TYPE OF LOCAT|ON BEAT SECTOR

 

 

 

 

oAsE suMMARY
Possib|e suspect name.

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME - LAST, FlRST, M|DDLE, SUFF|X HQME CELLULAR
1 oF 1 whiting, Timothy Lewis 31675 victor Rd , cihdrl ciy, cA 92234 (760) 641-5327
RACE SEX HT WT HA|R EYE AGE DOB HOME PHONEZ
13 M 5'11" 172 BLK BRo 42 09/0511963 3125 Escoba , Palm springsy cA 92262
occupATloN 1NJuR1Es HoME PHoNE 3
Hote| work '
SCARS / MARKS / TAT`|’OOS AKA'S ARRESTEE DlSPOS|TlON RELEASE LOCAT|ON ARREST DATE / TlME
le ~<> l:l ti°;iif;°§;§°f,;, whife, Tim ~ /
DL STATE ARRESTED BOOKING # WARRANT ClTATlON # S$# C||#
132839035 cA YES E ~<> le YEsl:l ~o lX| XXX-XX-XXXX AXXXXXXXX
` CHARGES
647.6 Pc (1)
NARRAT|VE

 

my report for information regarding this

'FAcTs:

impersonating a police officer.

and desiring prosecution.

records check.

STATUS:

The following is a supplemental report to my Supp-1 Report, case # of 0607-3599. Refer to

On 083006, the suspect in this case identified himself as Timothy Whiting (DOB 090563) to
CCPD Detective Secretary Sandra. He called wanting to know who was questioning him
regarding this case. He attempted to report he was being harassed by a subject who was

Timothy confirmed his name, and his cellular phone # to Sandra. The cellular phone #
number was listed on Ofc Van Gorder's report.

At the time of this report the victim nor her mother has contacted me regarding this case

The suspect has verbally identified himself, and the information was confirmed through a

CaS€.

 

 
 

 

 

 

   

 

 

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av oFFioER oATErriME APPRoon ev DATE APPRoveo
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Sum)-Z-DeVea/‘)703 Entered by: Corwin DeVeas

APDC (Rev. 03/5/10) Print Date:O7/25/2012

 

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Arrest R TMENT
C'ime E 68700 LalO Guerrero, Cathedral City, CA 92234 0607C.3599
Non-Crimina| |:l CAO332500 PAGE
Supplemental Report 2 OF 2

 

 

 

 

oFFENsE(s)
647.6 PC; AnnoylMo|est Chi|dren; Misd.

OFFENSE(S) cont'd.

 

DATE. T|ME AND DAY oF occuRENcE
07l25l06 06:00 Tuesday

DATE AND TlME REPORTED

 

07l25l06 17:40

 

LocATioN or occuRENcE
East Palm Canyon Dr, Monty Hall Dr

 

LOCATION NAME

TYPE OF LOCATlON

 

BEAT SECTOR

 

 

 

cAsE suMMARY
Possible suspect name.

 

NARRAT|VE

Closed

 

 

 

 

 

 

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Closed

 

 

 

 

 

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APDC (Rev. 03/5/10) Pl'intDate:O7/25/2()12

 

Case 5:13-cv-00250-BRO-CV\> Document 33 Filed 03/03/14 Page 49 of 70 Page lD #:305

Exhibit F

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Narratlve Report
OFFENSE(S) OFFENSE(S) cont'd.
647.6 PC; AnnoylMo|est Children; Misd.
DATE, T|ME AND DAY OF OCCURENCE DATE AND T|ME REPORTED
07l25l06 06:00 Tuesday 07l25l06 17:40
LOCATlON OF OCCURENCE LOCAT|ON NAME TVPE OF LOCAT|ON BEAT SECTOR
East Palm Canyon Dr, Monty Ha|l Dr
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On 7-25-06 at 1811 hours l received a radio call of a possible Child Annoying and was
advised the Victim and her mother were in the lobby at CCPD.

l went to the lobby and spoke with the Victim and her mother, v

The Victim said she had met the Suspect, "Tim", while riding the Sun Bus to summer school.
The Victim gets on the bus at East Palm Cyn. and Monty Hall. She said he introduced himself
about two weeks ago and they talk while riding the bus The Victim said Tim told her he works

at The Lodge in Rancho l\/lirage.

On 7-25-06, Tim gave the Victim and envelope with her name on it. When she opened lt she
found it was a note from Tim. lt contained a $20.00 bill and a note written on the inside. The
note said Tim wanted to be her "secret friend" and he thought she was beautiful and sexy.

Tim told her if she did not want the card, she should throw it away and "tear up the evidence."
He told her she could keep the money.

The Victim did not respond to Tim. When she arrived home, she told her mother of the
situation and they came to CCPD to report the incident.

l asked if Tim rode the bus every day and where he got on the bus The Victim said he got on
the bus at the same stop that she did. (East Palm Cyn. and Monty Hall) She said she had
seen him every day that she rode the bus for the last two weeks

l went to the bus stop at 0540 hours on 7-26-06 and waited to see if an individual who
matched his description was waiting for a bus | did not see anyone matching Tim's
description at the bus stop.

The phone number on the card was not called in order to not alert Tim to police interest in
him at this time.

The greeting card and the $20 bill were booked as evidence. Photo copies were made and
are included with this report.

 

 

 

 

 

DATE APPROVED

BY OFF|CER DATE/T|ME APPROVED BY
J. Van Gorder 2510 08/01/2006 02:50 Pau| Herrera 9408 08I01I06
OFF|CER UNlT/SH|FT ASS|GNED TO CASE STATUS
lnactive

 

 

 

 

 

 

 

 

 

CR-l Van G/2510 Entered by: James Van Gorder Page l of 2 APDC (Rev. 03/17/10) Print Date: 07/25/2012

 

 

 

 

 

 

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07l25l06 06:00 Tuesday

 

07l25l06 17:40

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Non-Criminal |:l , Page 2 of 2
Narratlve Report
OFFENSE(S) OFFENSE(S) cont'd.
647.6 PC; AnnoylMo|est Children; Misd.
DATE, T|ME AND DAY OF OCCURENCE DATE AND T|ME REPORTED

 

LOCATION OF OCCURENCE

East Palm Canyon Dr, Monty Hall Dr

LOCAT|ON NAME

 

 

TVPE OF LOCAT|ON

BEAT sEcToR
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NARRAT|VE

Refer to investigations Division for review.

 

  

 

 

 

 

 

 

    

 

    

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BV OFF|CER

DATElTlM E

APPROVED BY

 

DATE APPROVED

 

 

 

 

 

 

 

 

 

 

J. Van Gorder 2510 08/01/2006 02:50 Pau| Herrera 9408 08/01/06
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CR-] Van G/2510 Entered by: James Van Gorder Page 2 of 2 APDC (Rev. 03/]7/10) Print Date: 07/25/2012

 

 

Case 5:13-cv-00250-BRO-'va Document 33 Filed 03/03/14 "Pa)ge 52 of 70 Page lD #:308

Exhibit G

 

 

 

 

 

 

 

 

 

 

 

 

 

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Crime §§ 68700 Lale Guerrere, cathedral ciry, cA 92234 0607€-3599
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Supplemental Report 1 °F 2 _
OFFENSE(S) OFFENSE(S) cont'd.
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ing DATE, T|ME AND DAY OF OCCURENCE f DATE AND T|ME REPORTED
01125/06 os:ooTuasday 01/25/06 17:40
LOCAT|ON OF OCCURENCE LOCATlON NAME TYPE OF LOCAT|ON BEAT SECTOR
East Palm Canyon Dr, Monty Hall Dr
CASE SUMMARY

No suspect information.

      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

¢OlliE NAME - bAST. FiRST. MlDDLE, SUFF|X ADDRESS 1 CELLULAR
S l1 oi= 1 Unknown, Tim Unknown , , (760) 641-5327
RACE SEX HT WT HA|R EVE AGE DOB ADDRESS 2 FHONE 2
B M 5'07" 140 30-35
OCCUPAT|ON |NJUR|ES ADDRE$S 3 PHONE 3
Hote| Coordinator
SCAR$ / MARKS /TATTOOS AKA'S ARRESTEE D|SPOS|T|ON RELEASE LOCAT|ON ARREST DATE l T|ME
YEs |:| No |:j /
DL STATE ARRESTED BOOK|NG # WARRANT CiTATiON # SS# C||#
YEs |:\ No |X| vEs [:] No |:|
CHARGES
` 647.6 PC (1)
l
NARRATlvE

 

The following is a supplemental report to Ofc Van Gorder's CR-1 report, case # of
0607-3599. Refer to his report for his investigations

FACTS:
On 080406, Det Sgt Moss assigned me this case.

On 083006, l attempted to call the victim and her mother at (760) 899-2794. The phone
had since, been disconnected

 

5 l called the cellular phone of the suspect at (760) 641-5397. i contacted a subject who

' verbally identified himself as "Tim White," with at date of birth of 090563. Tim was hostile
upon contact and said he did not do anything wrong. He refused to give me his personal
information and demanded to know why l wanted to speak about this situation. He said the
victim was actually the person who approached him, and she had some of her family

members call and threaten him.
He refused to cooperate and we concluded our conversation.

i ran his name and date of birth and found no matched The only similar match was a '

 

 

  

 

 

 

 

 

Fou.ow.up . ` l `
YEs \:| NO |:] [:j pAT_ |:| DET. j:] oA |:] couRT |:| PRoaATloN |:] vvaP |:j oTHER
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C. DeVeas 9703 08l30l2006 14:04 Earl Moss 8908 09/01/06
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inactive

 

 

 

 

 

 

 

SuoD-i-DeVea/9703 Entered bv: Corwin DeVeas APDC (Rev. 03/5/10) PrintDate: 07/25/2012

 

 

 

 

 

 

 

 

 

647.6 PC; AnnoylMo|est Children; Misd.

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Supplemental Report 2 OF 2
OFFENSE(S) oFFENsE(s) conl'd.

 

DATE, T|ME AND DAY OF OCCURENCE
07l25l06 06:00 Tuesday

 

DATE AND T|ME REPoRTED
07l25l06 17:40

 

LocATloN oF occuRENcE
East Palm Canyon Dr, Monty Haii Dr

LOCAT|ON NAME

 

 

TYPE OF LOCAT|ON

 

BEAT SECTOR

 

 

CASE SUMMARY
No suspect information.

 

NARRAT|VE

phone continuously rang.

Due to (p)

itseif.

STATUS:
inactive.

At the timeof this report "Tim" is not identified

A supplemental report will follow by me if any further incidences occur.

"Timothy Patrick White" with a date of birth of 090580. The physical description did not
match for the suspect described in Ofc Van Gorder's report.

i called the Lodge, in Rancho l\/|irage, Ca at (760) 321-8200, for "Tim's." l knew the Lodge
has recently closed for renovation for 18 months but i attempted to call anyway. The

not following up with the status this case and no other incidences occurring
after the date of Ofc Van Gorder's report it appears this incident appears to have resolved

 

 

 

FOLLOW-UP

YEs [:| No |X|

COP|ES TO:

|:] PAT. [:j DET.

[:] oA |:j couRT

|:| PRoaATloN

jj vaP

 

BY OFF|CER

C. DeVeas 9703

DATE/T|ME

08/30/2006 14:04

APPROVED BY

Earl Moss 8908

DATE APPROVED

09/01/06

 

OFF|CER

 

 

UN|TISH|FT

ASSIGNED TO

 

CASE STATUS
inactive

 

 

Su_m)-l -DeVea/9703 Entered bv: Corwin DeVeas

APDC (Rev. 03/5/10) PrintDatc: 07/25/2012

 

 

Case 5:13-cv-00250-BRO-CV\_§ Document 33 Filed 03/03/14 Page 55 of 70 Page lD #:311

Exhibit H

 

CaS€ 5213-CV-00250-BRO-CW DOCUI'Tl€n'[ 33 Filed 03/03'/14 Pa`ge 56 Of 70 Page |D #:312

   

cathedral city

POLiCE DEPARTMENT

August 25, 2008

Timothy Lewis Whiting
General Deiivery
Cathedral City Ca 92234

Dear i\/lr. Whiting:

_This letter is written to advise you that we have received your complaint regarding the
incident, which occurred 12/23/08. Our department is reviewing your complaint (2008-07)
and you will be advised of the outcome of the investigation, when the process has been
completed

Yours tru|y,

%zé/

Stanley E. Henry
` Chief_of Police

68~700 A\/El\iiDA LA|_O GUERRERO ° CATHEDRAL ClTY, CA 9223£1-7031 ° 760/770~0300 ° FAX! 760/202~1469
%/? ' ' 770 9.»,@50/

 

CaS€ 5213-CV-00250-BRO-CVO DOCUI'Tl€n'[ 33 Filed 03/03/14 Pabe 57 Of 70 Page |D #:313

Exhibit I

 

Case 5:13-cv-00250-BRO-CV\) Document 33 Filed 03/03/14 Page 58 of 70 Page lD #:314

 

"` :i‘diz

POL|CE DEPARTMENT

 

September 3, 2008

Timothy Lewis Whiting
Generai Deiivery
Cathedral City Ca 92234

Dear Mr. Whiting:

This letter is written to advise you that we have received your complaint regarding the
incident, which occurred in August 2008. Our department is reviewing your complaint
(2008-08) and you will be advised of the outcome of the investigation, when the process
has been completed

Yours truiy,

a%§:;é/

Stanley E. Henry
Chief of Police

68-700 A\/E|\l|DA l_Ai_O GUERRERO ° CATHEDRAL CITY, CA 92234-7031 ' 760/770-0300 ° FAX: 760/202-i 469

 

Case 5:13-cv-00250-BRO-CVO Document 33 Filed 03/03/14 ,'l/:’a)ge 59 of 70 Page lD #:315

Exhibit ]

 

Case 5:13-cv-00250-BRO-CV\> Document 33 Filed 03/03/14 Page 60 of 70 Page lD #:316

 

FiLE NuiviBER
DETENTION CERT|F|CATE

 

r:”¢g»aé‘r:;?~ 2 /2;‘¢

 

 

Asv required by the provisions of Penal Code Section 851.6, l hereby certify that the taking

into custody of ,//a»r>e 77~/§,/ / /,./a,.?/~// ran/§ on 9 ~'3'”‘ "~”~’ /=?9¢>@ 143 “
(Subject’s Name) - (Date)

by the Cathedral City Police Department was a detention only, not an arrest.

 

/// raw /"';'7/1/ l /g.)/e// raw/af was released on 37 f / //2@6'-“4'
(Subject’s Name) ` (Date)

by the Cathedral City Police Department. Pertinent portions of Penal Code Sections 849,

849. 5 and 851. 6 are included as part of this certificate /
» v . ' ~ . - gigned; /7% x ar ,e //:,ef ///¢`

Tit|e and/or lD No.: //azw 775 ,>/,e i“~'/:/ _ 7¢//§’

 

Penal Code Section 849 provides in part:

(a) When an arrest is made without a warrant by a peace officer or private person, the person arrested,
if not otherwise released, shall, without unnecessary delay, be taken before the nearest or most '
accessible magistrate in the county in which the»offense is triab|e, and a complaint stating the
charge against the arrested person shall be laid before such magistrate

@ Any peace officer may release from custody, instead of taking such person before a magistrate,
/any person arrested without 6a warrant whenever:

313 He is satisfied that there are insufficient grounds for making a criminal complaint against the

. person arrested

(3) The person was arrested only for being under the influence of a narcotic, drug, or restricted
dangerous drug and such person is delivered to a facility or hospital for treatment and no further
proceedings are desirable

(c) Any record of arrest of a person released pursuant to paragraphs (1) and (3) of subdivision
(b) shall include a record of release Thereafter, such arrest shall not be deemed an arrest,
but a detention.

Penal Code Section 849. 5 provides
v In any case in which a person is arrested and released and no accusatory pleading is filed
charging him with an offense, any record of arrest of the person shall include a record of release _`
if Th`ereafter, the arrest shall not be deemed an arrest, but a detention only.

.,'-.
‘.#- "‘e;

Penal Code Section 851. 6 provides,' in part:
(a) in _an_y case in which a person is arrested and released pursuant to paragraph (1)or (3) of
subdivision (b) _of Section 849, the person shall be issued a certificate, signed by the releasing
' officer or his superior officer, describing the action as a detention.
.. n any case in which a person is arrested and released and no accusatory pleading' is filed charging
' ji_hlm with ah offense, the person shall be issued a certificate by the law enforcement agency which
arrested him describing the action as a detention.

 

 
 
 

 

 

Case 5:13-cv-00250-BRO-CV\) Document 33 Filed 03/03/14 Pabe 61 of 70 Page lD #:317

Exhibit K

 

Case 5:13-cv-00250-BRO-CV\/> Document 33 Filed 03/03/14l Page 62 of 70 Page lD #:318
Timothy L. Whiting . g _
General Deiivery
Cathedral City, CA 92234

February 04, 2009 '

Pat Hammers, City Clerk f
Charles R. Green, City Attorney F_________
Stan Henry, Chief of Police ' …
City of Cathedral City '

68-700 Avenida Lalo Guerrero

Cathedral City, CA 92234

Tele: 760~770-0300

Re: Request for Further Formal Investigation illto Mv Complaints Against the
Cathedral City Police Department grider Personnel Complaint Procedure, Section

1020.

 

 

 

Dear Sir/Madam,

On January 26, 2009, from 9:15am to ll: lSam, a two hour interview took place in the
office of a high ranking Cathedral City police officer. The content of this unannounced interview

referenced my interests and my recent 2008 pending racial profiling/ police harassment

complaints At this interview, Captain Kevin Connor (Captain Connor) made specific revelations
and admissions-but denied any Wrong doing by up to nine police officers who took part in my
detainments/ arrest. However, Iwholeheartedly-believe that the police detentions were illegal
and my arrest unlawful.

lnconclusively, the internal investigator(s) and Captain Connor-who rationalized the
tiiv_iality of home security surveillance video-failed to completely scrutinize all the available
evidentiary facts which could have undeniably proven my complaints of intentional and
purposeful harassment by his subordinate police officers or at the least supported the police
department’s charge of making false complaints against me.

Therefore, l am unconvinced that my complaints were fully investigated by the Cathedral
City Police Department and request for a further formal investigation into my complaints of
Raciai Profiling (Event #0808€-1402: Amgust 07, 2008), Police Harassment (Event #0808€-
2160: August 10, 2008), and Police Harassment (Event #081 lC-5449: November 22. 2008).

    

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6 lmothy Lewls_, 'ting
General Deli cry '
Cathedral City, CA 92234 . 13-;_-}_7@0 A=,/e, l.aio ClU‘-’Bi=“@\'@
' . Cathedral City CA 92234
Cc: Indio, Eastern Division, Assistant District Attorney, Bill Mitchell. /
Cc. Personal Files. _ __________ __ ____ ___ __ I/_/_- . 7152§

 

Case 5:13-CV-00250-BRO-CV\/ Document 33 Filed 03/03/14 'Pa,lge 63 of 70 Page |D #:319

Exhibit L

 

 

Case 5§13-cv-00250-BRO-val " Dotttmi“ Mrée tr\QFe§?r/¢t"é / Page °g%fo?w Page lD#:320

June 1 1, 2009

DEMAND FOR PUBLIC RECORDS
[Califomia Government Code Section 6250 et seq.;
California Evidence Code Section 413]

Records Custodian

Anita Singleterry, Police Department

68-700 Avenida Lalo Guerrero

Cathedral City, CA 92234

Tele: 760-770-0300

RE; 4th Incide)nt Claim of Police MMduct Due To Cathedral Citv Police Department’s

Prolongation of Retaliatorv and Conspiratorial Behavior Towards Me for Having Filed

Complaints Against'Thirteen foicers.

Dear Records Custodian:

This California Public Records Act request has been written as a result of recent
incidents which conclude an~ongoing Cathedral City Police Department (CCPD) retaliatory
conspiracy with other “friendly” Coachella Valley (Inland Empire) law enforcement entities
(Palm Springs, Palm Desert, Indio, and La Quinta) as well as employees who work for private
security firms, public libraries, shopping malls, food stores, bookstores, SunLine Bus Transit
Authority, hospitals, temporary day work centers, etc. CCPD and its law enforcement cronies
sole purpose (with assistance from FBI national databases such as the Terror Watch List or
Violent Criminal Apprehension Program [VICAP]), is to intimidate, embarrass, humiliate,
.defame, and slander with the ultimate objective of attempting (1) to force me to leave the city_
Coachella Valley_because of my temporag social status as a U.S. Military Homeless Veteran in

hopes of preventing my future federal civil rights law suit (2) to possibly influence and taint the
,rninds of future jurists who may end up hearing my civil law suit cases against CCPD and '
SunLine Transit Authority and (3) to cause me severe physical, mental and/or bodily injury.

Based on the aforementioned, I volunteer to give my explanations relating to this CPRA
request set here forthwith. _

First, on May 21, 2009, I contacted CCPD Lieutenant Laura Hanlon (Hanlon) to inform

_ »her of my recent discovery that Police Officer Jeffrey Bird (Bird), badge# 2702, committed an act
of falsification of a police report dated on August 10, 2008. l explained-to Hanlon that Bird
intentionally li_ed in his report by stating that l had given him the alias (aka) name of “Tim
White”. l vehemently protested to Hanlon that I have w given any law enforcement officer an

alias name (aka), because I do not have one. Hanlon sarcastically replied, ‘FHow did you find that

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Case 5:13-ov-00250-BRO-CW Document 33 Filed 03/03/14 paine 65 of 70 Page |D #:321

-out?” I responded by simply saying, “Research!” Due to Hanlon’s time restrictions, our telephone
conversation ended abruptly with nothing further being said. For reasons unknown at that time, I
was dumbfounded as to “'Why?” CCPD would label me with this so called alias (aka) name of
“Tim White”. But as l progressed into my legal research via internet,' l later found my answer on
the California Attorney General Meagan’s Law'Website. Shockingly on this website, l identified
a convicted sexual child molester named Timothy Lanorris White (an African-American male) j
who uses the alias (aka) name of “Tim White”. Mr. White has the same first name as I do and
who has a strikingly resemblance to my physical/ bodily characteristics (age, skin color, weight,
height, and facialf`eatures), so I think CCPD labeling me with this “AKA” is of no mere
coincidence but done with malicious intent. With this newly-discovered sexual assault
inforrnation, I was able to put “2 and 2” together by which I recalled a previous impromptu
interview with a CCPD senior officer who oddly referenced a sexual matter back in January 2009.
Suspiciously, on January 26, 2009, at about 9:05am, while awaiting to pick-up copies of
documents in the main lobby area at the CCPD, Captain Kevin Connor (Connor) did approach _
and request of me a brief two minute interview in his office; however, a couple of minutes,
ended-up lasting just over two hours. The content of this unannounced interview, in my mind,
was to have Connor update me with information regarding my complaint of racial profiling and t
three complaints of police harassment against thirth officers During this interview, Connor
made specific revelations and admissions but denied any wrong doing by any of the thirteen
officers who took part in my illegal stops, detainments, and arrest. Yet, in the same breadth,
while slightly covering his mouth with his right-hand, Connor verbally apologized on the behalf
of the CCPD by saying, “I am sorry if we. . .” and further admitted that a junior officer “...did not
know what he was doing.” In addition, quite suspiciously and totally off subject, Connor-
hypothetically speaking_made reference to a man who goes around the community climbing
through women’s bedroom windows sexually assaulting them with a sex toy. For the reason that
my complaints had absolutely NOTHING to do with sexual assault, I failed to understand _ -
Connor’s rationale in~ givingsuch an example, because l am M a sexual predator, child
molester, sexual deviant, sexual pervert, serial killer/rapist, etc. Let it be known, th`at»if any law
enforcement agency throughout the entire country has a scintilla of evidence or a witness(s) in '
dispute then please make that person(s) known and I shall turn them into gaps and periurers in a

court of law.
Looking back at both incidents involving Hanlon and Connor, I put “2 and 2” together,

and have come to the realization that CCPD has purposefully labeled me as a potential serial

sexual child molester, rapist, or killer. Also, it has been established with much probability that top

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'~ Case 5:13-CV-00250-BRO-CW Document 33 Filed 03/03/14 Pafge 66 of 70 Page |D #:322

officers within CCPD (Chief Henry, Captain Connors, and Lieutenant Hanlon) have used their
“friendly” contacts inside the law enforcement community to open-up a bogus investigation
against me relating to some unknown form of sexual assault This “green light” given to CCPD
by_the FBI or some other higher authority makes my name readily available for input in one of
the national databases (Terror Watch List, VICAP, etc.) which can provide almost 24 hour
monitoring and tracking of suspected violent persons. As a matter of fact, I can give photographic
confirmation that lam being monitored and followed resulting from my name being active in one
of these databases Moreover, if I were to subpoena certain private security firms’ logbooks you
would find info showing contact date/times by certain law enforcement personnel Who have been
given the job keeping track of me. _

As for all the previous reasons given that includes CCPD’s verbal apology, along with,
having received from Lieutenant Laura Hanlon a Detention Certificate which basically states
that there was insufficient evidence and no probable cause for my arrest, pursuant to California
Government Code Section § 6250, et seq., I request the full names and badge numbers of the
twelve police officers who were involved in my stop(s), detention(s), harassment, and arrest. I
also request the full names and badge numbers of the police officers who were assigned the task

of conducting the internal investigation Please provide the requested information resulting from

lmy police misconduct complaints of B_acial Proii_ling (Event #0808€-1402: August 07, 20(§),

Police Harassment (Event #0808€-_2_160: AMt 10, 200_8), and Police Harassment (Event
#0811€-5449: November 22, 2008) as specifically described and listed by number on
Attachment “A”.

You are hereby notified and advised that any person, including the addressee, who
intentionally delays, obstructs, or prevents a full and accurate response to this lawful Request; or
who provides misleading or altered materials in response thereto, in whole or in part, may be in

violation of federal and/ or~ state law as a co-defendant, co-conspirator, or accomplice after the

' fact, for prior unlawful acts related to those materials.

You are hereby notified and advised that ind that`event, pursuant to California-Evidence »
Code Section 413, we reserve the right to offer evidence that materials responsive to this request
were wrongly -withheld; for the purpose of aiding and concealing unlawful acts; and in admission
of a consciousness of wrongdoing t d
_ In any event, please provide a signed notification citing the legal authorities~on whom
you rely'if you determine that any or all of the information is exempt and will not be disclosed
l ask for a determination on this request within 10 days of your receipt of it, and an even prompter

reply if you can make that determination without having to review the record[s] in question.

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'. ~‘Case 5:13-c\/-00250-BRO-CW Document 33 Filed 03/03/14 Palge 67 of 70 Page |D #:323

t Thank you for your time and attention to this matter.

I declare under penalty of perjury that the forego' g is true and correct to
the best of my knowledge /

_// //
Executed on June 112 2009 Signature //MW" ¢///j//br%:%/
TlMoTH)//L'EWIS WHIYG
`Mailing address: -_
Timothy Lewis Whiting ‘
General Delivery
Cathedral City, CA 92234

Cc: U.S.'Department of Justice, Civil Rights Division, Washington, D.C.
Cc: NAACP, National'l~leadquarters, Baltimore, Maryland.
Cc: ACLU Campaign against Police Misconduct, NY, New York.
Cc: Riverside County, Attorney General, Edmund G. Brown Jr.
' Cc: City Manager of Cathedral City, Donald Bradley.
Cc: Cathedral City, Police Chief, _Stan Henry.
Cc: The Desert Sun, Editor

` Cc: Personal Files.

 

Case 5:13-cv-00250-BRO-c§v\_l Document 33 Filetr 03/03/14 Page 68 of 70 Page lD #:324

Exhibit M

 

Case 5:13-cv-00250-BRO-CV\> Document 33 Filed 03/03/14 Page 69 of 70 Page |D #:325

  
       

Cathedral it

POL|CE DEPARTMENT

January 28, 2009

Timothy Lewis Whiting
General Delivery
Cathedral City Ca 92234

RE: Incident date November 22, 2008

Dear l\/|r. Whiting:

This letter is written to advise you that your complaint regarding the above-mentioned incidentl
has been investigated The process of interviewing those involved is now complete

l have reviewed the completed internal affairs investigation (2008-C) resulting from the
complaint you filed and l do not find any violation of departmental policy.

Yours tru|y,

%;W

Stanley E. Henry
Chief of Police

68-700 AVE|\llDA LALO GUERRERO ' CATHEDRAL C|TY, CA 92234-.703l ° 760/770-0300 ' FAX: 760/202-l469

 

 

 

Case 5:13-cv-00250-BRO-6vii‘ Document 33 Filed 03/03/14 page 70 of 70 Page lD #:326

PROOF OF SERVICE BY lVIAIL
In re; Plaintiff"s First Amended Verified Complaint
Caption: Whiting v. City of Cathedral City, No. EDCV 13-250 CAS (CW)
Filed: United States District Court, Central District of California
STATE OF CALIFORNIA )

) ss.
COUNTY OF RIVERSIDE )

 

I am a citizen of the United States and a resident of the City of Indio, County of Riverside; I am over
the age of eighteen years and not a party to the within action; my business address is P.O. Box 6959,
La Quinta, California 92248. On this date, I served the persons interested in this action by placing

one copy of the above-entitled document in sealed envelopes with first-class postage fully prepaid in

the United States post office mailbox at lndio, California, addressed as follows:

 

Peter J ames Ferguson
Attorney at Law

1631 E. 18"‘ street

Santa Ana, California 92705

 

 

 

l declare under penalty of perjury under the laws of the State of California that the foregoing is true

and correct.

Executed at Indio, California, M~~ 2%// , 2014.

  

M//LL/t;/L, W///WN@.J/C

PNNTNAME

 

$GNATURE

 
 

